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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                             CRIMINAL CASE NO.

                                                1:11-cr-00255-TWT-RGV
 STACEY DOOLEY and ASHLEY
 HENDERSON


 ORDER FOR SERVICE OF REPORT, RECOMMENDATION, AND ORDER

       Attached is the Report, Recommendation, and Order of the United States

Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and Local Criminal

Rule 59(2)(a)-(b). Let the same be filed and a copy, with a copy of this Order, be

served upon counsel for the parties.

       Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within fourteen (14) days of receipt of this

Order. Should objections be filed, they shall specify with particularity the alleged

error(s) made (including reference by page number to the transcript if applicable)

and shall be served upon the opposing party. The party filing objections will be

responsible for obtaining and filing the transcript of any evidentiary hearing for

review by the District Court. Failure to object to this Report and Recommendation

waives a party’s right to review. Fed. R. Crim. P. 59(b)(2).
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      Pursuant to Title 18, U.S.C. § 3161(h)(1)(D) and (H), the above-referenced

fourteen (14) days allowed for filing objections is EXCLUDED from the

computation of time under the Speedy Trial Act, whether or not objections are

actually filed. The Clerk is DIRECTED to submit the Report and Recommendation

with objections, if any, to the District Court after expiration of the above time period.

      IT IS SO ORDERED and DIRECTED, this 29th day of January, 2013.




                                         RUSSELL G. VINEYARD
                                         UNITED STATES MAGISTRATE JUDGE




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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
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 v.                                              CRIMINAL CASE NO.
                                                 1:11-cr-00255-TWT-RGV
 STACEY DOOLEY and ASHLEY
 HENDERSON

  MAGISTRATE JUDGE’S REPORT, RECOMMENDATION, AND ORDER

       Defendants Stacey Dooley (“Dooley”) and Ashley Henderson (“Henderson”),

collectively referred to herein as “defendants,” are charged along with seven other

co-defendants in a fifteen-count indictment. [Doc. 312]. Dooley and Henderson are

charged with (1) unlawfully obstructing, delaying, and interfering with interstate

commerce by taking personal property in the custody and control of armored car

couriers by means of actual and threatened force, violence, and fear of injury, and

conspiring to do so, in violation of 18 U.S.C. §§ 1951 and 2; (2) carrying and using

a firearm in relation to a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A)(ii)

and 2; and (3) causing the death of a person through using a firearm in relation to
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a crime of violence, in violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j)(1), and 2. See

[id.].1

          On October 13, 2011, Henderson filed a motion to suppress any evidence

obtained as a result of Global Positioning System (“GPS”) monitoring of vehicles.

[Doc. 193]. Similarly, on October 14, 2011, Dooley filed a motion to suppress

evidence and fruits obtained from warrantless GPS tracking. [Doc. 201]. In his

motion, Dooley asserted that warrantless installation, use, and monitoring of a GPS

tracker attached to a red Chevrolet Impala (the “Impala”) “that was driven by . . .

Dooley” violated the Fourth Amendment. [Id. at 2]. In support of this assertion,

Dooley relied primarily on United States v. Maynard, 615 F.3d 544 (D.C. Cir. 2010),

and he noted that the Supreme Court had accepted certiorari in the case, styled as

United States v. Jones, 131 S.Ct. 3064 (June 27, 2011). [Id. at 3-4]. Accordingly, at the

pretrial conference on October 19, 2011, the Court took defendants’ motions under

advisement, but deferred briefing and ruling on the matter until the Supreme Court

ruled in Jones. [Doc. 219].

          Following the Supreme Court’s ruling in Jones, Dooley filed an additional

motion to suppress all evidence derived from illegally installed GPS trackers and



          1
       The cited document and page numbers refer to the document and page
numbers shown on the Adobe file reader linked to this Court’s electronic filing
database (CM/ECF).

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from all real-time location data derived from his telephones.2 [Doc. 398]. In this

motion, now citing United States v. Jones, 132 S.Ct. 945 (2012), Dooley again asserted

that the warrantless installation, use, and monitoring of a GPS tracker on the Impala3

violated the Fourth Amendment. [Id. at 6-8]. In addition, he asserted that the

government had violated his Fourth Amendment rights by procuring unauthorized

real-time cell phone location data, arguing that neither the pen register trap and

trace orders, nor the wiretap orders issued in the case legally authorized the

interception of such data. [Id. at 8-15]. The government then filed separate

responses to Dooley’s contentions regarding warrantless installation of the GPS

tracker, [Doc. 424], real-time cell phone location data under the pen register trap and

trace orders, [Doc. 433], and to Dooley’s contentions regarding real-time cell phone

location data under the wiretap orders, [Doc. 434]. Dooley filed reply briefs

regarding the warrantless installation of the GPS tracker, [Doc. 459], and real-time

cell phone location data, [Doc. 460].




      2
          Henderson did not filed a post-Jones brief.
      3
         In addition to tracking the Impala, the government also installed and
monitored a GPS tracker on a Buick Park Avenue without a warrant. See [Doc. 424
at 3]; (Tr. at 48-49, 85-87). However, the Buick Park Avenue never moved from its
location during the time of monitoring and the government does not intend to offer
any evidence from this GPS tracker, see [Doc. 424 at 3 n.1], so it will not be discussed
further herein.

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      On September 11, 2012, the Court held an evidentiary hearing on the issue of

defendants’ standing with respect to the warrantless installation of the GPS tracker

on the Impala.4 [Doc. 498]. Following this hearing, defendants filed briefs regarding

this standing issue.5 [Doc. 528 (Dooley’s standing brief); Doc. 531 (Henderson’s

standing brief)]. The government then filed a comprehensive response, [Doc. 543],

and in addition to addressing the standing question, presented arguments regarding

the suppression of evidence as a result of the warrantless installation of the GPS

tracker. The defendants then filed post-hearing reply briefs addressing not only

standing issues, but also the substantive arguments raised in the government’s

response, [Doc. 554 (Henderson’s reply); Doc. 557 (Dooley’s reply)], to which the

government has filed a surreply, [Doc. 559-1].6


      4
        See Doc. 505 for the transcript of the hearing, hereinafter referred to as (“Tr.
at ___”). In addition, the government submitted exhibits which will be referred to
as “(Gov. Ex. __).”
      5
       In addition, at the request of the Court, Dooley filed a supplemental brief
regarding his standing to challenge the sufficiency of the wiretap orders, [Doc. 544],
to which the government has responded, [Doc. 555]; see also [Doc. 341 at 7-27
(arguments regarding standing in government’s initial response to the motions to
suppress evidence from the wiretap orders)].
      6
        On December 11, 2012, the government filed a motion for leave to file a sur-
reply to defendants’ reply briefs related to the GPS tracker. [Doc. 559]. Although
“[n]either the Federal Rules nor the Court’s Local Rules allow sur-reply briefs as a
matter of right, and the Court normally does not permit sur-replies,” USMoney
Source, Inc . v. Am. Int’l Specialty Lines Ins. Co., No. 1:07-cv-0682-WSD, 2008 WL
160709, at *2 n.5 (N.D. Ga. Jan. 15, 2008), rev’d on other grounds, 288 F. App’x 558

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      For the following reasons, it is RECOMMENDED that Henderson’s motion

to suppress any evidence obtained as a result of the GPS monitoring of vehicles,

[Doc. 193], Dooley’s motion to suppress evidence and fruits obtained from

warrantless GPS tracking, [Doc. 201], and Dooley’s motion to suppress all evidence

derived from illegally installed GPS trackers and from all real-time location data

derived from his telephones, [Doc. 398], be DENIED.




(11th Cir. 2008) (per curiam) (unpublished) (citation omitted); see also Leatherwood
v. Anna’s Linens Co., 384 F. App’x 853, 857 (11th Cir. 2010) (per curiam)
(unpublished) (citation omitted), “the Court may in its discretion permit the filing
of a surreply . . . where a valid reason for such additional briefing exists, such as
where the movant raises new arguments in its reply brief,” Fedrick v.
Mercedes-Benz USA, LLC, 366 F. Supp. 2d 1190, 1997 (N.D. Ga. 2005 ) (citations
omitted); see also St. James Entm’t LLC v. Dash Crofts, Civil Action No.
1:09-CV-1975-RWS, 2010 WL 2802616, at *1 (N.D. Ga. July 13, 2010) (“Certainly, the
Court is disinclined to consider arguments raised in a surreply which could have
been raised in an earlier filing.”). Here, the government seeks leave to file a surreply
to address arguments raised by the defendants for the first time in reply briefing;
namely, evidence presented by Henderson regarding his presence in the Impala and
resulting standing to challenge the monitoring of the GPS tracker and the
government’s failure to produce evidence regarding the subjective good faith of the
officer installing the GPS tracker on the Impala. See [Doc. 559]; see also [Doc. 557].
Accordingly, the government’s motion for leave to file a surreply is GRANTED, and
the clerk is DIRECTED to enter the government’s surreply, [Doc. 559-1], on the
docket.

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                                I. FACTUAL BACKGROUND

A.        Ownership of the Impala

          At the evidentiary hearing on September 11, 2012, the Court heard testimony

from Yvonne Jones (“Yvonne”), Desiree Jones’ (“Jones”) mother.7 (Tr. at 8-18).

Yvonne testified that she knew Dooley because Jones had introduced him to her as

her boyfriend. (Tr. at 9). Both Dooley and Jones lived with her for almost a year and

a half, until Dooley and Jones, along with their two children,8 moved to a house “less

than a mile down the road” at 5015 Michael Jay Street, Snellville, Georgia. (Tr. at 10-

12). Yvonne further testified that she later found out Henderson was also living at

5015 Michael Jay Street. (Tr. at 13). She stated that she saw his clothes in the house,

and that Henderson was there on a regular basis when she visited at the house.9 (Tr.

at 13-14).10




          7
              Jones is a co-defendant in this case. See [Doc. 312]; (Tr. at 9).
          8
              One of these children was Dooley’s biological child, and one was not. (Tr.
at 11).
          9
       Yvonne testified that she spent time at the house because her grandchildren
were there. (Tr. at 19). She stated that she would sometimes visit once or twice a
week, but some weeks not at all. (Id.).
          10
         Officer Benjamin Finney with the Gwinnett County Police Department
(“GCPD”) also testified that when officers searched 5015 Michael Jay Street, they
discovered Henderson’s birth certificate and social security card, (Tr. at 29, 34-35),
as well as receipts for purchases made in Henderson’s name, (Tr. at 34).

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      At some point, Dooley came to Yvonne and asked for her help in purchasing

a vehicle. (Tr. at 14-15). He told her that because neither he nor Jones had a Georgia

driver’s license, they could not purchase a vehicle on their own. (Tr. at 14).

Therefore, he asked Yvonne to sign for the vehicle, which she could then transfer

over to Jones once Jones got her “license straightened out.” (Tr. at 14-15). Yvonne

agreed, but did not want to make any payments for the vehicle, so they met at a

small independent car dealership where Dooley provided the money for the

purchase of the Impala, which was purchased in Yvonne’s name.11 (Tr. at 15-16, 20).

Yvonne never drove the vehicle, and she testified that Dooley drove it “at least 99

percent of the time,” (Tr. at 16-17), although she had some recollection of Henderson

driving the vehicle on occasion, (Tr. at 18 (stating that “it was rare, but [she knew]

that he did”)). Yvonne also testified that Dooley always parked the Impala in the

driveway of 5015 Michael Jay Street, and never on the street. (Tr. at 16).

B.    The Investigation Prior to Installation of the Impala’s GPS Tracker

      1.     Evidence from Interviews and Phone Records

      Beginning in the fall of 2010, the Federal Bureau of Investigation (“FBI”), in

conjunction with state and local law enforcement, investigated a series of armored

car robberies, one of which occurred in October of 2010, two of which occurred in

      11
         No more than one month after the purchase was made, the car was
transferred to Jones’ name. (Tr. at 21-22).

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November of 2010, one of which occurred on December 7, 2010, and one of which

occurred on January 21, 2011. (Tr. at 65-66).

      Early in the investigation, law enforcement was focused on four names that

had come to their attention. (Tr. at 66).       The first was Christopher Bennett

(“Bennett”), who name arose after his fingerprints were recovered from a stolen

vehicle used in the December 7, 2010, robbery. (Id.). Bennett was reported missing

on December 29, 2010, and his body was later found at the end of January of 2011.

(Id.). In conducting the investigation of Bennett’s involvement with the robberies,

and later, his murder, law enforcement interviewed several of his family members

and friends. (Tr. at 66-67). These family members and friends were familiar with

Bennett’s involvement in at least one of the armored car robberies, and they

identified three other names linked to the robberies: “Big Quint,” “Chicken,” and

“Teddy.” (Tr. at 67). Subsequently, law enforcement was able to identify Quentin

Booker (“Booker”), a co-defendant in this case, as “Big Quint.” (Id.); see also [Doc.

341-1 (affidavit supporting wiretap warrant) at 35, 37-39 (describing interviews

where individuals who knew “Big Quint” identified Booker out of a photo lineup)].

      Bennett’s family members also told law enforcement that just before his

disappearance, Bennett was supposed to meet up with an individual known as

“Chicken,” so that he could allegedly purchase narcotics, and they provided law



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enforcement with “Chicken’s” phone number (404-461-8025).             (Tr. at 67, 69).

Investigators suspected that the last phone number to be in contact with Bennett’s

telephone (404-333-5110), which had been identified by the Atlanta Police

Department’s missing person’s investigation, must belong to “Chicken.” (Tr. at 68).

Accordingly, law enforcement obtained a court order for subscriber information and

cell site location information from these two numbers. (Tr. at 69); see also [Doc. 285-

1 (Trap and Trace Order for 5110 number); Doc. 285-2 (Trap and Trace Order for

8025 number)]. These records showed that the two phone numbers were in the

vicinity of some of the robbery locations at the times of the robberies. (Tr. at 69).

Specifically, the first phone number, ending in 5110, was in the area of the December

7, 2010, robbery, as well as the November 29, 2010 robbery, and the second phone

number, ending in 8025, was in the area of the November 29, 2010, robbery, as well

as the January 21, 2011 robbery. (Tr. at 69-70). Therefore “[i]t was apparent that the

user of those two telephones was potentially involved in those robberies.” (Tr. at

70).

         Further analysis of the phone records associated with these two numbers led

law enforcement to identify a third telephone number (404-217-8277) that was being

called around the times of the robberies. (Tr. at 70). This number was registered to

Booker.     (Id.).   Law enforcement obtained a court order for the subscriber



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information and cell cite location information associated with the phone number

ending in 8277, and found that this phone was in the vicinity of each of the five

robberies at the time the robberies occurred. (Id.); see also [Doc. 285-2 (Trap and

Trace Order for 8277 number). Law enforcement then pulled subscriber information

for the various phone numbers in contact with Booker at the 8277 number between

September of 2010 and January of 2011. (Tr. at 82).

      Looking at the phone records amassed in the investigation thus far, three

additional phone numbers stood out because of the contact they had with other

telephone numbers already identified in the case. See (Tr. at 82-83). In addition,

each had a tie to 5015 Michael Jay Street in Snellville, Georgia. (Tr. at 82). Two of

these phone numbers,12 which had contact with all three of the other identified

telephone numbers, were subscribed to an individual named Donyale Dooley, who

lived at 5015 Michael Jay Street.13 (Tr. at 82-83). The third phone number14 was a

landline at 5015 Michael Jay Street that was registered to Jones, and had “numerous



      12
        These phone numbers were 678-895-3369 and 678-994-7676 (Tr. at 82-83).
In addition to having contact with all three previously identified phone numbers,
the phone number ending in 7676 had 265 contacts with Booker’s phone during the
several months of records obtained by law enforcement. (Tr. at 83).
      13
        It was later determined that Dooley used his brother’s name, Donyale
Dooley, as an alias to establish cell phone service. [Doc. 341-4 at 8 n.1; Doc. 544-1].
      14
           This phone number was 678-395-5110. (Tr. at 83).

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contacts”15 with Booker’s phone, many of which occurred after at least one of the

robberies. (Tr. at 83).

      Because two of these phones were registered to Donyale Dooley, law

enforcement followed up on that name, and discovered that he “appeared to be a

legitimate person.” (Tr. at 83). Law enforcement discovered that Donyale Dooley

had a criminal history in North Carolina and a prior residence in North Carolina.

(Tr. at 84). Since the individuals they had spoken to about “Chicken” indicated that

he was from North Carolina, investigators came to believe that “Chicken” was

residing at 5015 Michael Jay Street. (Id.).

      2.       Evidence from Visual Surveillance

      On March 7, 2011, the FBI conducted visual surveillance of Booker as he left

his residence in Douglasville, Georgia, driving a Buick LeSabre (“Booker’s vehicle”).

(Tr. at 70).    Authorities followed Booker as he went to a few locations in

Douglasville, Georgia, and then traveled to Stone Mountain, Georgia, near the

border of Gwinnett and DeKalb Counties. (Tr. at 71). While in Stone Mountain,

Booker appeared to follow a Loomis armored truck. (Tr. at 71-73); see also [Doc.

341-1 at 40-41 (describing visual surveillance of Booker as he followed a Loomis



      15
       Specifically, FBI Special Agent Paul Szabo (“Agent Szabo”) testified that the
phone ending in 5110 had contacted Booker’s phone 645 times during the several
months of records obtained by law enforcement. (Tr. at 83).

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truck and noting that he was “engaging in evasive driving techniques, referred to

by law enforcement officials as heat checks.”)]. While surveilling Booker as he

followed the armored truck in Stone Mountain, authorities noticed a black Buick

Park Avenue (the “Buick”) was also following behind the armored truck.16 (Tr. at

72). Two people were in the Buick, and the driver was a black male. (Tr. at 74).

      While under surveillance, Booker’s vehicle and the Buick followed the Loomis

truck as it traveled to a Wells Fargo Bank off of Highway 78. (Tr. at 73). While the

armored truck serviced the ATM, surveillance observed Booker’s vehicle driving in

the vicinity and eventually parking directly across the street, and the Buick parked

in a parking lot adjacent to the bank and directly behind the ATM drive-thru. (Tr.

at 74). The Loomis armored truck eventually left, and Booker’s vehicle and the

Buick followed it to another Wells Fargo Bank in downtown Snellville, Georgia. (Tr.

at 75-76). Surveillance observed as both vehicles drove through the parking lot

behind the bank while the Loomis truck serviced the ATM there. (Tr. at 76). The

vehicles then drove off in separate directions. (Tr. at 77).

      Two days later, on March 9, 2011, law enforcement received a report of a

suspicious incident from an employee at the Bank of America on Medlock Bridge



      16
         Agent Szabo described the Buick as having standard wheels and dark tint,
a paper “drive-out” tag on the rear, and the left side of the hood was noticeably ajar,
as if damaged. (Tr. at 74).

                                          12
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Road in Johns Creek, Georgia. (Tr. at 77-78). According to the employee, she

arrived at work early and while she waited for the bank to open, a Dunbar armored

truck serviced the ATM at the drive-thru. (Tr. at 78). The employee observed a

black vehicle pull up and park directly beside her “as if watching the armored car”

while it serviced the ATM. (Id.). While the employee described the black vehicle as

a “limousine-type vehicle,” Agent Szabo understood that description as referring to

a sedan-type vehicle and specifically a Buick Park Avenue (as opposed to a Lincoln

Town Car), based on her description of the black vehicle’s tail lights. (Tr. at 79-80).

The employee described the hood of the black vehicle as being noticeably ajar,

matching the description of the vehicle that agents had seen two days earlier

following the Loomis armored truck. (Tr. at 78).

      On March 15, 2011, a robbery of a Garda armored truck occurred at the Kroger

on LaVista Road in DeKalb County, during which the Garda courier was shot from

behind multiple times and killed. (Tr. at 80). Witnesses reported that the robbers

fled in a light blue Mercury Grand Marquis, later determined to have been stolen.

(Id.). The robbers abandoned that vehicle a few blocks away, and witnesses at that

location reported seeing an individual carrying a firearm get into a red four-door

sedan similar to a Toyota Camry or Nissan.17 (Tr. at 81, 97-98). Agent Szabo testified

      17
       Specifically, both witnesses reported seeing a red sedan, but it appears that
only one of the two posited that it could be a Toyota or a Nissan. (Tr. at 97, 105).

                                          13
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about the use of two vehicles in a robbery, describing the red four-door vehicle as

a “secondary getaway vehicle:”

       The stolen getaway vehicle was used to get away from the scene.
       Obviously that’s viewed by witnesses, so typical[ly] in robbery cases,
       that vehicle gets dumped and they switch to another vehicle to
       facilitate their getaway. Often, that second vehicle is not a stolen
       vehicle; it’s owned by a suspect, a girlfriend, a relative, but it’s a vehicle
       usually legitimately owned or rented by somebody associated with the
       robbery suspects.

(Tr. at 87).

       On March 17, 2011, law enforcement conducted surveillance of the residence

at 5015 Michael Jay Street, and observed parked in the driveway a black Buick Park

Avenue, with the hood noticeably ajar, matching the description of the Buick agents

had seen following the Loomis truck on March 7, 2011, and that the bank employee

reported seeing on March 9, 2011. (Tr. at 85). The agent who observed the vehicle

took a photograph of it and sent it to Agent Szabo, who had been part of the law

enforcement team tailing Booker’s vehicle and the Buick while they followed the

Loomis truck.      (Tr. at 85-86).    Agent Szabo testified that the vehicle in the

photograph “appeared to be the same” as the Buick he had previously observed.

(Tr. at 85).




Agent Szabo also testified that a 2008 red Chevy Impala, like the Impala at issue in
this case, is similar in appearance to a 2008 Toyota Camry. (Tr. at 102, 104).

                                            14
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C.       Installation of the Impala’s GPS Tracker

         Continued visual surveillance at 5015 Michael Jay Street revealed that the

Impala, a red, four-door sedan like the second get-away vehicle from the March 15,

2011, robbery, was parked in the driveway of that residence.18 (Tr. at 88-89). On

March 22, 2011, sometime between 3:00 a.m. and 5:00 a.m., GCPD Detective Michael

Duncan (“Detective Duncan”) installed a GPS tracker underneath the rear bumper

of the Impala while it was parked in the driveway of 5015 Michael Jay Street. (Tr.

at 50, 52, 88). The Impala was backed into the driveway with the rear bumper

almost touching the garage door, which remained closed. (Tr. at 51). At that time,

the residence at 5015 Michael Jay Street had no carport or any similar type of

enclosure extending from the residence over the Impala, and the Impala was not

covered in any way. (Tr. at 52). When Detective Duncan installed the GPS tracker

on the Impala, the Buick was also parked in the driveway. (Tr. at 52-53). Detective

Duncan did not enter the garage or the residence that evening. (Tr. at 62); see also

(Gov. Exs. 1-4).




         18
              This Impala was subsequently determined to be registered to Jones. (Tr. at
89).

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                                  II. DISCUSSION

A.     Evidence Derived From GPS Tracker

       The Fourth Amendment to the United States Constitution provides that the

“right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures, shall not be violated.” U.S. CONST. amend. IV.

In Jones, 132 S.Ct. at 945, the Supreme Court clarified its Fourth Amendment

jurisprudence by explaining that both the common-law trespassory test and the

reasonable expectation of privacy test articulated in Katz v. United States, 389 U.S.

347, 351 (1967) (Harlan, J., concurring), are valid methods to determine if a Fourth

Amendment violation has occurred. See Jones, 132 S.Ct. at 952 (emphasis and

citation omitted) (noting that the Katz reasonable expectations of privacy test was

“added to, not substitute for, the common-law trespassory test”).19 Accordingly, a


       19
          To the extent the government asserts that this statement indicates a
defendant must show both a common law trespass and a reasonable expectation of
privacy in the subsequent tracking to establish a Fourth Amendment violation, see
[Doc. 543 at 20, 22-23; Doc. 559-1 at 3-4 (noting that the government’s argument was
based only upon the non-binding concurrence)], the Court declines to adopt this
approach. The language of the majority opinion in Jones makes clear that “Katz did
not erode the principle ‘that, when the Government does engage in a physical
intrusion of a constitutionally protected area in order to obtain information, that
intrusion may constitute a violation of the Fourth Amendment.’” Jones, 132 S.Ct. at
951 (citation omitted); see also id. (footnoted omitted) (“Katz did not narrow the
Fourth Amendment’s scope.”). Accordingly, the holding in Jones does not, as the
government asserts, add another necessary condition that must be satisfied in order
for a violation to occur, see id. at 948 (“. . . Jones’s Fourth Amendment rights do not
rise or fall with the Katz formulation.”), but instead merely reaffirms an additional,

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defendant may show that a Fourth Amendment violation occurred either by

showing that the “[g]overnment physically occupied private property for the

purpose of obtaining information,” id. at 949, 951 n.5, or, even absent a trespass, by

showing that his reasonable expectations of privacy were violated, see id. at 952. In

the specific context of a GPS tracking device, this formulation of Fourth Amendment

jurisprudence makes clear that a violation occurs where the government physically

intrudes on a constitutionally protected area to place the tracking device for

subsequent monitoring, id. at 951, or if no such trespass occurs, when the

subsequent monitoring of that tracking device interferes with a person’s reasonable

expectations of privacy, see id. at 951-54.

      1.     Installation of the Tracking Device

             a.    Henderson’s Challenge Against the Installation

      In order for Henderson to successfully mount a Fourth Amendment challenge

to the installation of the tracking device based on trespass theory, he must establish

that the government intruded upon a constitutionally protected area when it placed

the GPS tracker on the Impala. See id. at 951. As previously stated, the Fourth

Amendment protects “the right of people to be secure in their persons, houses,

papers, and effects,” U.S. CONST. amend. IV, and, the home is “[w]ithout question


independent way that a defendant may establish his Fourth Amendment rights have
been violated.

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. . . accorded the full range of Fourth Amendment protections,” Lewis v. United

States, 385 U.S. 206, 211 (1966) (citations omitted); see also United States v. Weston,

443 F.3d 661, 666 (8th Cir. 2006) (citation omitted) (“The Fourth Amendment’s

protection extends to the curtilage surrounding a home.”). Moreover, “[i]t is beyond

dispute that a vehicle is an ‘effect’ as that term is used in the [Fourth] Amendment.”

Jones, 132 S.Ct. at 949 (citing United States v. Chadwick, 433 U.S. 1, 12 (1977),

overruled in part on other grounds by California v. Acevedo, 500 U.S. 565 (1991)).

Since the evidence shows that Detective Duncan entered the driveway at 5015

Michael Jay Street to install the GPS tracker on the undercarriage of the Impala,

Henderson may pursue his claim if he can show a trespass by establishing that he

had a constitutionally protected interest in either the driveway of 5015 Michael Jay

Street or the Impala onto which the GPS tracker was actually attached.

      Henderson asserts that the installation of the tracker on the Impala infringed

upon his constitutionally protected rights because he was living20 at 5015 Michael

Jay Street, and the Impala parked in the driveway, which he sometimes drove, was

      20
         Given the evidence presented by Henderson, see [Doc. 531 at 2-3
(recounting testimony that Henderson was often at the residence, that his clothing
was at the residence, and that Jones who was living at 5015 Michael Jay Street with
Dooley, said Henderson lived there; noting that law enforcement found Henderson’s
birth certificate, his social security card, and receipts in his name when they
searched the residence; and stating that Henderson gave his address upon arrest as
5015 Michael Jay Street)]; (Tr. at 8-18, 20), the Court finds that he has sufficiently
established that 5015 Michael Jay Street was his residence.

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within the curtilage of that residence when the tracker was installed. [Doc. 531 at

2-6]. Although Henderson acknowledges that many courts have held a driveway

that is not enclosed does not constitute curtilage of a residence, he “believes he had

a reasonable expectation of privacy in the driveway of this particular residence, a

home with attached garage and a driveway that was barely long enough to park two

vehicles bumper to bumper,” and in any event, he asserts that “the area in question”

is really the “underside of [the Impala] (a vehicle he sometimes drove).” [Id. at 5-6

n.4].

        Black’s Law Dictionary defines curtilage as “[t]he land or yard adjoining a

house, usually within an enclosure.” Black’s Law Dictionary (9th ed. 2009). The

extent of the curtilage “is determined by factors that bear upon whether an

individual reasonably may expect that the area in question should be treated as the

home itself.” United States v. Dunn, 480 U.S. 294, 300 (1987) (citation omitted). The

Supreme Court has identified four factors relevant to determining the boundaries

of the curtilage: (1) the proximity of the area claimed to be in the curtilage to the

home; (2) whether the area is included within an enclosure surrounding the home;

(3) the nature of the uses to which the area is put; and (4) the steps taken by the

resident to protect the area from observation by people passing by. Id. at 301.




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      Considering these factors, the undersigned finds that Henderson has not

demonstrated a reasonable expectation of privacy in the driveway because it is not

part of the curtilage of the 5015 Michael Jay Street residence. Although the first

factor weighs in Henderson’s favor, as the area of the driveway on which the car

was parked was right next to the garage door of the house, (Tr. at 51), the other three

factors do not weigh in favor of finding the driveway to be within the curtilage. No

enclosure or carport covered the driveway; instead, it was completely open to the

public. (Tr. at 52). The driveway was being used to store vehicles, see (Tr. at 16, 52-

53), and there is no evidence in the record that defendants used it for any other more

private purpose, cf. United States v. Soliz, 129 F.3d 499, 502-03 (9th Cir. 1997),

overruled on other grounds by United States v. Johnson, 256 F.3d 895 (9th Cir. 2001)

(per curiam) (noting that parking cars is not a “private activit[y] connected with the

sanctity of the home” and is instead a “mundane, open and notorious activity”).

Finally, there is no evidence that any of the residents of 5015 Michael Jay Street,

including Henderson, took any steps to protect the driveway from observation of

people passing by; there was no gate or fence, no “No Trespassing” signs, nor any

other features that would prevent a person standing in the public street from seeing

the entirety of the driveway.21 See generally (Tr. at 51-52). Accordingly, even if

      21
       Indeed, as Henderson notes, the “driveway . . . was barely long enough to
park two vehicles bumper to bumper,” indicating that it was quite close to the public

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Henderson had an expectation of privacy in the residence located at 5015 Michael

Jay Street, he had no expectation of privacy in the driveway as it was not part of the

residence’s curtilage and law enforcement therefore did not enter into a

constitutionally protected area by crossing the driveway to attach the GPS tracker

to the Impala.22 See United States v. Alvin, No. CR208-25, 2009 WL 722267, at *3

(S.D. Ga. Mar. 18, 2009), adopted at *1; see also United States v. Galaviz, 645 F.3d

347, 355-56 (6th Cir. 2011) (citations omitted) (noting that even if proximity to the

house was close enough to possibly constitute curtilage, a “short driveway” “at least

two car lengths long” was not curtilage where it “was not enclosed by a fence or

other barrier” and “no apparent steps were taken by the residents of the house to


road. See [Doc. 531 at 5 n.4].
      22
         Henderson appears to contend that the fact that the tracker was attached to
the Impala in a place not readily visible to the public, i.e. the undercarriage of its rear
section, which was immediately adjacent to the garage door, renders the driveway
within the curtilage of 5015 Michael Jay Street. See [Doc. 531 at 5-6 & n.4; Doc. 554
at 5-6]. However, curtilage is “the land or yard adjoining a house” Black’s Law
Dictionary (9th ed. 2009) (emphasis added), and thus, the movable vehicle parked
on the driveway is not, in and of itself, curtilage to which the Fourth Amendment’s
protection could be extended. Instead, the positioning of the vehicle on the
driveway is relevant as to whether Henderson had a reasonable expectation of
privacy in the driveway because it informs the Court’s interpretation of the Dunn
factors, showing that law enforcement came within close proximity to the residence
when it placed the tracker on the vehicle and demonstrating “the nature of the uses
to which the area is put.” See Dunn, 480 U.S. at 301. However, as previously
discussed, considering the totality of the circumstances these factors do not support
a finding that the driveway where the car was parked is constitutionally protected
curtilage.

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protect the driveway from the sidewalk or street”); United States v. Ventling, 678

F.2d 63, 66 (8th Cir. 1982) (per curiam) (holding that a driveway is not “protected

curtilage” because “a driveway and portion of the yard immediately adjacent to the

front door of the residence can hardly be considered out of public view”); cf. United

States v. Quintana, 594 F. Supp. 2d 1291, 1301-02 (M.D. Fla. 2009), adopted at 1294

(finding a paved driveway near the front of a residence to be curtilage where law

enforcement accessed the driveway by jumping over a fence and unlocking an

electronic driveway gate).

      Moreover, Henderson has not shown that he had a constitutionally protected

interest in the Impala itself. Indeed, with respect to the Impala, Henderson merely

asserts that he “sometimes drove” the vehicle. See [Doc. 531 at 6 n.4; Doc. 553 at 554

(citing (Tr. at 17-18, 22))]; see also (Tr. at 18 (Yvonne testifying that Henderson rarely

drove the Impala)). Henderson has not established that he had any possessory

interest in the vehicle, and a non-owner, like Henderson, who drives the vehicle

only after a GPS tracker is installed, cannot establish a Fourth Amendment violation

on the basis of the trespass theory.23 See Jones, 132 S.Ct. at 951-52 (distinguishing

      23
         Henderson looks to the Jones case as support for his position that as an
occasional driver of the vehicle, he has standing to challenge the installation of the
GPS tracker. See [Doc. 554 at 3]; see also Jones, 132 S.Ct. at 949 n.2 (noting that
standing may exist to challenge an alleged Fourth Amendment violation where an
individual is the “exclusive” user of a vehicle and, as a result, assumes the property
rights of a bailee). However, the Jones Court also stated that because the

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United States v. Knotts, 460 U.S. 276 (1983), and United States v. Karo, 468 U.S. 705

(1984), on the ground that the government installed the tracking devices in the

containers at a time when defendants did not have the containers in their

possession).   Accordingly, as Henderson has not established that he has a

constitutionally protected interest with respect to either the driveway onto which

law enforcement entered to attach the tracker or the Impala itself when the tracker

was attached, it is RECOMMENDED that his motion to suppress any evidence

obtained as a result of the GPS monitoring of vehicles, [Doc. 193], be DENIED to the

extent Henderson asserts that the installation of the GPS tracking device violated his

Fourth Amendment rights.24




government did not challenge standing in the appeal, they did “not consider the
Fourth Amendment significance of Jones’s status,” Jones, 132 S.Ct. at 949 n.2,
rendering the Jones opinion dicta with respect to its statements on standing.
Furthermore, this dicta clearly considers the rights of an individual who is the
“exclusive” user of a vehicle, see id., and testimony here establishes only that
Henderson drove the vehicle on “rare” occasions, (Tr. at 18). Accordingly, even
under the dicta of Jones, Henderson has not shown that he has standing with respect
to the installation of the GPS tracker on the Impala.
      24
          Even if Henderson could establish a constitutionally protected interest with
regard to the installation of the tracking device on the Impala, his motion would still
fail for the reasons stated in the following section discussing Dooley’s challenge
against the installation.

                                          23
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             b.    Dooley’s Challenge Against the Installation25

      The government asserts that even if installation of the GPS tracker violates the

Fourth Amendment, evidence derived from that action is not due to be suppressed

since the good faith exception to the exclusionary rule applies. See [Doc. 543 at 27-

41]. “Evidence seized as the result of an illegal search may not be used by the

government in a subsequent criminal prosecution.” United States v. McClure, 160

F. App’x 842, 844 (11th Cir. 2005) (per curiam) (unpublished) (citation and internal

marks omitted). “The exclusionary rule, as it is known, is a judicially created

remedy designed to safeguard Fourth Amendment rights generally through its

deterrent effect.” Id. (citations and internal marks omitted). “One exception to the



      25
          The government has conceded that Dooley has standing to challenge the
installation of the GPS tracker as he has shown that he provided the money to
purchase the Impala. See [Doc. 543 at 22]. Indeed, the government’s arguments
with respect to the merits of Dooley’s suppression motion focus exclusively on the
fact that his motion should be denied because he has not also shown that he had a
reasonable expectation of privacy in the subsequent monitoring of the Impala. See
[id. at 22-27]. However, as previously discussed, the holding in Jones does not add
another necessary condition that must be satisfied in order for a defendant to
establish a Fourth Amendment violation, but instead merely establishes an
additional, independent way that a defendant may demonstrate his Fourth
Amendment rights have been violated. See discussion, supra at 16 n.18.
Accordingly, the Court will assume that Dooley has established a Fourth
Amendment violation under Jones by presenting evidence that a GPS tracker was
placed on a car in which he had a constitutionally protected possessory interest
without a warrant, and will turn directly to the government’s argument that this
installation falls under the good faith exception to the exclusionary rule. See [Doc.
543 at 27-41].

                                         24
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exclusionary rule is the good faith exception set forth by the Supreme Court in

United States v. Leon, [468 U.S. 897 (1984)].” Id. (citation omitted).

      Under Leon, “the good faith exception to the exclusionary rule ‘stands for the

principle that courts generally should not render inadmissible evidence obtained by

police officers acting in reasonable reliance upon a search warrant that is ultimately

found to be unsupported by probable cause.’” United States v. Vanbrackle, 397 F.

App’x 557, 559 (11th Cir. 2010) (per curiam) (unpublished) (quoting United States

v. Martin, 297 F.3d 1308, 1313 (11th Cir. 2002)); see also United States v. Robinson,

336 F.3d 1293, 1295-96 (11th Cir. 2003). The Leon good faith exception “has been

extended to situations where officers are called upon to interpret or rely upon an

external source of authority such as a statute, which later turns out to be invalid or

not to authorize the action taken, or where officers have based their conduct on

recognized exceptions to the warrant requirement itself, such as consent.” United

States v. Gonzalez, 969 F.2d 999, 1004 n.7 (11th Cir. 1992) (internal citations omitted);

see also Davis v. United States, 131 S.Ct. 2419, 2428-29 (2011) (holding that the good

faith exception to the exclusionary rule applies where police conduct a search in

objectively reasonable reliance on then-binding appellate judicial precedent). “The

purpose of the exclusionary rule is to deter unlawful police misconduct; therefore,

when officers engage in objectively reasonable law enforcement activity and have



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acted in good faith . . . , the Leon good faith exception applies.” McClure, 160 F.

App’x at 845 (citation and internal marks omitted).26

      To the extent the government can show law enforcement acted in reasonable

reliance on binding judicial precedent at the time Detective Duncan installed the

GPS tracker on the Impala, the good faith exception applies to render any evidence

obtained as a result of this action admissible. See Davis, 131 S.Ct. at 2428-29; United

States v. Lebowitz, 676 F.3d.1000, 1010 (11th Cir. 2012) (per curiam); United States

v. Pineda-Moreno, 688 F.3d 1087, 1091 (9th Cir. 2012) (applying the good faith

exception to the exclusionary rule to admit GPS tracker evidence after Jones). Prior

to Jones, the Eleventh Circuit had held that a warrant was not required to install an

electronic tracking device on the exterior of a vehicle parked in a public place, and

      26
          Thus, although Dooley asserts that the good faith exception does not apply
because the government has failed to show that Detective Duncan, who installed the
tracker, had any knowledge of the then-binding appellate legal precedent, [Doc. 557
at 5-7], the “pertinent analysis” with respect to the good faith inquiry is “objective,
not an inquiry into the subjective awareness of [the installing] officer[.]” Herring v.
United States, 555 U.S. 135, 145 (2009) (internal marks omitted). In other words, the
“good faith inquiry is confined to the objectively ascertainable question whether a
reasonably well trained officer would have known that the search was illegal [in
light of] all of the circumstances.” Leon, 468 U.S. at 922 n.23; see also id. at 919 n.20
(“We emphasize that the standard of reasonableness we adopt is an objective one.”);
United States v. Amaya, 853 F. Supp. 2d 818, 829 (N.D. Iowa 2012), opinion
withdrawn in part on reconsideration on other grounds by 853 F. Supp. 2d 835 (N.D.
Iowa 2012) (providing that courts “when applying Davis [in the context of Jones],
have looked to officers’ compliance with, not knowledge of, binding appellate
precedent”).


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instead an officer need only have reasonable suspicion to support the installation of

a beeper. United States v. Michael, 645 F.2d 252, 257-59 (5th Cir. May 11, 1981) (en

banc);27 cf. United States v. Smith, 387 F. App’x 918, 920-21 (11th Cir. 2010) (per

curiam) (unpublished) (holding that the warrantless installation of a GPS device on

the exterior of defendant’s car did not violate the Fourth Amendment “because the

car was parked in a place easily accessible to the public and was reachable from a

public thoroughfare”).28

      However, Dooley asserts that the good faith exception does not apply because

Michael is distinguishable from the current case since the Impala was parked on

private property and not in a public place. See [Doc. 459 at 4-5; Doc. 557 at 5-7]; see

also Michael, 645 F.2d at 256-57 (emphasis added) (applying the traditional


      27
        Decisions of the Fifth Circuit rendered before October 1, 1981, are binding
upon panels of the Eleventh Circuit. Bonner v. City of Prichard, Ala., 661 F.2d 1206,
1209 (11th Cir. 1981) (en banc).
      28
          Dooley contends that law enforcement may not rely on the good faith
exception to the exclusionary rule because legal precedent from other districts at the
time the GPS tracker was installed suggested that installing the GPS tracker without
a warrant may violate the Fourth Amendment. See [Doc. 459 at 4-5; Doc. 398 at 7].
However, Dooley does not cite any authority in support of his assertion that non-
binding precedent deserves the same consideration as an appellate decision handed
down by the Circuit Court in the district at issue, and given the specificity of the
Supreme Court’s holding in Davis, the good faith exception does not require an
officer to consider precedent regarding the legal issue at hand from all judicial
districts. See United States v. Lee, 862 F. Supp. 2d 560, 567-70 (E.D. Ky. 2012); United
States v. Katzin, Criminal Action No. 11-226, 2012 WL 1646894, at *7-9 (E.D. Pa. May
9, 2012).

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reasonable expectation of privacy test to determine “that the minimal intrusion

involved in the attachment of a beeper to Michael’s van, parked in a public place was

sufficiently justified [by reasonable suspicion] so as to satisfy any of Michael’s fourth

amendment expectation of privacy concerns”). The Court agrees that the Eleventh

Circuit’s approval of warrantless tracker placement in Michael turns on the fact that

“Michael’s expectation of privacy in th[e] case was slight” since he parked his van

“in plain view, in a public place” and “[w]hat a person knowingly exposes to the

public, even in his own home . . . , is not a subject of Fourth Amendment

protection.”29 Michael, 645 F.2d at 257-58 & n.14 (citations and internal marks

omitted); see also, cf., Smith, 387 F. App’x at 921. However, the undersigned does

not find that the privacy interests at stake in the present situation are meaningfully

distinguishable from those described in Michael, since, as previously discussed, the

driveway of 5015 Michael Jay Street is “visible to the public” and not part of the

curtilage of that residence, indicating that, like a public parking lot, it was not

subject to any constitutional protection or reasonable expectation of privacy. See (Tr.

at 51-52); see also Cowart v. Enrique, 311 F. App’x 210, 213-14 (11th Cir. 2009) (per



      29
         Similarly, the 2006 Amendment notes to Federal Rule of Criminal Procedure
41(b)(4) specifically state that “if the officers intend to install or use the [tracking]
device in a constitutionally protected area, they must obtain judicial approval to do
so. If, on the other hand, the officers intend to install and use the device without
implicating any Fourth Amendment rights, there is no need to obtain a warrant.”

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curiam) (unpublished) ( applying the Dunn factors and holding that a driveway and

front yard which were clearly visible from the public street were not entitled to

Fourth Amendment protection). Accordingly, because appellate precedent in this

Circuit both sanctioned warrantless installation of GPS trackers on vehicles in areas

not entitled to Fourth Amendment protection, see Michael,645 F.2d at 256-57; Smith,

387 F. App’x at 920-21, and held that areas like the driveway of 5015 Michael Jay

Street, which are not protected in some fashion from public view, are not subject to

the protections of the Fourth Amendment, see Cowart, 311 F. App’x at 213-14, law

enforcement’s decision to install the GPS tracker on the Impala when it was parked

in the driveway of 5015 Michael Jay Street without first securing a warrant falls

under the protection of the good faith exception to the exclusionary rule, see Davis,

131 S.Ct. at 2428-29; see also United States v. Nelson, No. CR612-05, 2012 WL

3052914, at *2-3 (S.D. Ga. July 25, 2012) (relying on Michael to apply the good faith

exception to the exclusionary rule after Jones).

      Alternatively, Dooley asserts that the good faith exception does not apply

because there was no reasonable suspicion supporting installation of the GPS tracker

on the Impala and law enforcement therefore failed to comply with the binding

appellate precedent of Michael. [Doc. 557 at 8]; see also Michael, 645 F.2d at 257-59

(requiring reasonable suspicion for installation of a tracker). Specifically, Dooley



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asserts that reasonable suspicion did not exist because there was “no evidence at all

connecting [the Impala] with anything, other than being parked at this particular

residence.” [Doc. 557 at 8]. He asserts that while witnesses had identified a red

vehicle similar to a red Honda or a red Toyota, the police “knew very well” that the

“American-made Red Chevy Impala” was a different vehicle. [Id.].

      “Reasonable suspicion consists of a sufficiently high probability that criminal

conduct is occurring to make the intrusion on the individual’s privacy interest

reasonable.” United States v. Godsey, 224 F. App’x 896, 899 (11th Cir. 2007) (per

curiam) (unpublished) (citation and internal marks omitted). “When making a

determination of reasonable suspicion, courts must examine the totality of the

circumstances of each case to see whether the [] officers have a particularized and

objective basis for suspecting legal wrongdoing.” United States v. Wilcher, Criminal

Case No. 1:10-CR-25-TWT-LTW, 2010 WL 5678676, at *4 (N.D. Ga. Dec. 17, 2010),

adopted by 2011 WL 336462, at *1 (N.D. Ga. Feb. 1, 2011) (citation omitted); see also

United States v. Foskey, 455 F. App’x 884, 887 (11th Cir. 2012) (per curiam)

(unpublished) (citation omitted). “[A]n inchoate and unparticularized suspicion or

hunch of criminal activity is not enough to satisfy the minimum level of objectivity

required.” Wilcher, 2010 WL 5678676, at *4 (alteration in original) (citation and

internal marks omitted); see also United States v. Brumfield, Criminal Action No.



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1:10-CR-053-CAP-ECS-1, 2011 WL 5978082, at *3 (N.D. Ga. Feb. 18, 2011), adopted

by 2011 WL 5976300, at *1 (N.D. Ga. Nov. 29, 2011) (citation omitted). There must

be “specific and articulable facts which, taken together with rational inferences from

those facts, reasonably warrant th[e] intrusion.” Wilcher, 2010 WL 5678676, at *4

(citations and internal marks omitted); see also United States v. Lewis, 674 F.3d 1298,

1311 (11th Cir. 2012). “To determine whether officers had reasonable suspicion, [the

court] must take stock of everything they knew before [installing the tracker].”

United States v. Gomes, 279 F. App’x 861, 870 (11th Cir. 2008) (per curiam)

(unpublished) (citation and internal marks omitted); see also United States v.

Henderson, 145 F. App’x 346, 351-52 (11th Cir. 2005) (per curiam) (unpublished).

      Prior to installing the GPS tracker, law enforcement had identified Booker and

an individual known by the nickname “Chicken,” who had ties to North Carolina,

as suspects in a series of bank robberies based on their association with Bennett,

whose fingerprints had been recovered from a vehicle used in one of the robberies.

(Tr. at 67-70, 84). Telephone records indicated that the individual suspected of being

“Chicken” had obtained cellular service from cellular towers in the vicinity of

several of the armored truck robberies at the times of those robberies, and that

Booker had obtained cellular service from cellular towers in the vicinity of all of the

armored truck robberies at the times of those robberies. (Tr. at 69-70). Further



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analysis of telephone records associated with these individuals revealed three

additional frequently called numbers which were often called right after the

robberies had occurred. (Tr. at 82-83). Two of these phone numbers were registered

to an individual named Donyale Dooley, living at 5015 Michael Jay Street, who also

had ties to North Carolina, leading law enforcement to believe he was “Chicken.”

(Tr. at 82-84). The third phone was the land line at 5015 Michael Jay Street,

registered in Jones’ name. (Tr. at 83).

      In addition, visual surveillance conducted in connection with the armed

robbery investigation revealed that on March 7, 2012, a black Buick with a noticeably

ajar hood was following a Loomis armored car. (Tr. at 72-77). On March 9, 2012, a

witness reported seeing a similar black vehicle with a noticeably ajar hood watching

a different armored truck as it serviced an ATM. (Tr. at 77-78). On March 15, 2012,

following the robbery of an armored truck, witnesses observed the suspects trading

their stolen getaway vehicle for a red, four-door sedan which one witness suggested

may be a Toyota or a Honda. (Tr. at 80-81, 97-98). When law enforcement drove by

the 5015 Michael Jay Street address, which had been identified by the phone records,

they noticed a black Buick, with a noticeably ajar hood, parked in the driveway of

that residence, and the Buick appeared to be the same vehicle surveillance agents

had observed on March 7, 2011, following armored trucks in conjunction with



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Booker. (Tr. at 84-85); see also (Tr. at 49, 72-74). Later, law enforcement observed

a second vehicle, a red, four-door sedan, the Impala, parked in that same driveway.

(Tr. at 88).

       Based on this evidence, which shows that multiple sources had tied an

individual living at 5015 Michael Jay Street, where the Impala and black Buick were

parked, to the bank robberies, and that specific witness testimony had tied a red

four-door sedan, like the Impala, to the March 15, 2011, robbery, reasonable

suspicion supported law enforcement’s decision to install a GPS tracker on the

Impala. As a result, evidence recovered from that tracker is admissible under the

good faith exception since law enforcement “only did what the law allowed at that

time.” United States v. Rosas-Illescas, Case No. 2:11-CR-492-RDP-HGD, 2012 WL

1946580, at *5 (N.D. Ala. May 30, 2012). Although Dooley asserts that the police

report identified the red sedan as a Honda or Toyota, and that law enforcement

knew the Impala was not the same car, see [Doc. 557 at 8], he provides no

evidentiary support for this broad assertion of bad faith. Indeed, Agent Szabo

specifically testified that, in his opinion, a 2008 Camry and a 2008 Chevy Impala

looked similar, and in any event, the witness statements from the March 15, 2011,

robbery indicate that while both witnesses agreed the car was a red, four-door

sedan, a description clearly satisfied by the Impala, only one witness guessed it



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might “possibly” be a Camry or a Nissan. (Tr. at 81, 97-98, 104-05). Accordingly,

“reasonable suspicions of law enforcement agents in this case justified the minimal

intrusion of affixing the . . . tracking device to the outside of the vehicle” and

evidence derived from the warrantless installation of the GPS tracker is not due to

be suppressed. United States v. Burton, 698 F. Supp. 2d 1303, 1308 (N.D. Fla. 2010)

(finding reasonable suspicion where DEA agents received information from multiple

sources that the regular driver of a vehicle was a distributor of cocaine and visual

surveillance had revealed that the vehicle was parked at multiple locations of

suspected drug activity). Therefore, it is RECOMMENDED that Dooley’s motions

to suppress evidence obtained as a result of the GPS monitoring of vehicles, [Docs.

201, 398], be DENIED to the extent Dooley asserts that the installation of the GPS

tracking device violated his Fourth Amendment rights.

      2.     Subsequent Monitoring of the GPS Tracking Device

      In order for the defendants to successfully mount a Fourth Amendment

challenge based upon the subsequent monitoring of the GPS tracking device on the

Impala, they must establish that the monitoring intruded upon their reasonable

expectations of privacy. See Jones, 132 S.Ct. at 951. In order to allege a violation of

this right, defendants “must demonstrate that [they] personally ha[ve] an

expectation of privacy in the place searched, and that [their] expectation is



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reasonable.” Minnesota v. Carter, 525 U.S. 83, 88 (1998) (citation omitted). In other

words, defendants must demonstrate both a subjective and an objective expectation

of privacy to challenge a search. United States v. Segura-Baltazar, 448 F.3d 1281,

1286 (11th Cir. 2006); see also California v. Ciraolo, 476 U.S. 207, 211 (1986). “The

individual[s] challenging the search bear[] the burdens of proof and persuasion.”

United States v. Cooper, 133 F.3d 1394, 1398 (11th Cir. 1998) (citation omitted); see

also Carter, 525 U.S. at 88.

      With respect to the subsequent tracking of the vehicle, Henderson asserts he

had a reasonable expectation of privacy because he was “the other unidentified

black male observed [in the Impala] on all but one of the dates in question,” because

he was “specifically monitored on March 30, 2011,” and because he believes he was

the “person exiting the . . . Impala and entering a CVS pharmacy on March 28, 2011.”

[Doc. 554 at 7]. Similarly, Dooley sets forth evidence that he drove the Impala “at

least 99 percent of the time.” See (Tr. at 15-16). Thus, defendants apparently

contend that they had a reasonable expectation of privacy in their movements, and

since they were occupants of the Impala, the monitoring of the Impala permitted law

enforcement to track them, infringing upon their Fourth Amendment rights.

      However, even assuming that defendants have set forth sufficient evidence

to establish that they occupied the Impala during the time that it was being



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monitored by law enforcement,30 they have not established a sufficient reasonable

expectation of privacy in the movements law enforcement captured to warrant

suppression of the evidence from the GPS tracker.          The Supreme Court has

specifically held that a person has no reasonable expectation of privacy in his

movements on a public highway, and thus the warrantless use of a tracking device

to follow public movements, such as those of the Impala on the street or even while

parked in the driveway of 5015 Michael Jay Street, does not implicate the Fourth

Amendment. See Knotts, 460 U.S. at 281-83; see also id. at 282 (“Nothing in the

Fourth Amendment prohibit[s] the police from augmenting the sensory faculties

bestowed upon them at birth with such enhancement as science and technology

afford[] them.”).    Although warrantless tracking of a defendant within a

constitutionally protected space has been held to implicate the Fourth Amendment,

see Karo, 468 U.S. at 714 (holding that the warrantless installation of a tracking

device to follow defendant’s movements within a private residence implicated the

Fourth Amendment), there is no indication that the warrantless tracker on the

      30
         The government points out that Henderson merely states that he “believes
he was the other unidentified black male observed on all but one of the dates in
question” and because he must direct the Court to evidence in the record, his own
subjective beliefs are not sufficient evidence to establish standing. See [Doc. 559-1
at 6 n.1 (internal marks omitted) (citing [Doc. 554 at 7])]; see also United States v.
Cardenas, 24 F. App’x 890, 893 (10th Cir. 2001) (unpublished) (citation omitted)
(noting that a defendant’s subjective belief of a fact, without evidence that the fact
existed, does not meet the burden to establish standing necessary to mount a Fourth
Amendment challenge).

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vehicle was ever used to track the car in any such protected area; indeed, Detective

Duncan specifically testified that while the signal could be tracked when a vehicle

was out on the street, it could not be tracked when a vehicle was inside a garage, as

it was not likely that the signal would transmit from inside a structure, (Tr. at 63).

Accordingly, monitoring the Impala on public streets, to the extent it permitted law

enforcement to also track the public movements of defendants, does not implicate

the Fourth Amendment.

      Moreover, to the extent Dooley asserts that the fact the Impala was monitored

for eight days generated aggregate data in which he had a reasonable expectation

of privacy, violating his Fourth Amendment rights, see, e.g., [Doc. 557 at 3-4]; see

also United States v. Maynard, 615 F.3d 544, 560, 563 (D.C. Cir. 2010) (reasoning that

long-term monitoring violated defendant’s reasonable expectation of privacy

because the defendant’s aggregate movements were not actually exposed to public

view since it was unlikely that a stranger would observe all the defendant’s public

movements over such a long period); see also Jones, 132 S.Ct. at 957 (Alito, J.,

concurring) (expressing agreement with the Maynard Court’s reliance on reasonable

expectations of privacy as they relate to long-term monitoring),31 the undersigned

      31
        Because the majority found that a Fourth Amendment violation had
occurred on the basis of trespass theory, they did not reach the question of whether
prolonged monitoring, even on public streets, would violate a defendant’s
reasonable expectation of privacy. See Jones, 132 S.Ct. at 953-54. Moreover, the
monitoring in Jones lasted 28 days, id. at 948, far longer than the 8 days at issue here,

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finds that suppression of the evidence obtained from the GPS trackers is not

warranted on this basis because the good faith exception to the exclusionary rule

applies. At the time the trackers were being monitored, appellate precedent in the

Eleventh Circuit had clearly established that no warrant was needed for electronic

monitoring of vehicles on public streets, see Knotts, 470 U.S. at 281-83; Michael, 645

F.2d at 258 (approving of warrantless tracking of vehicle where “[t]he beeper only

aided the agents in the performance of their lawful surveillance” and “[t]he van

traveled public roads and was exposed to public view”), and had expressly

approved of such monitoring where law enforcement had reasonable suspicion to

believe the individuals being monitored had committed a crime, see Michael, 645

F.2d at 258. Accordingly, law enforcement acted in good faith reliance on existing

appellate case law at the time it monitored the Impala without a warrant using a

tracker that broadcast only from the open areas of the public streets, and even if the

Fourth Amendment were violated, suppression of the evidence obtained by the

tracker is not warranted due to the good faith exception to the exclusionary rule. As

a result, it is RECOMMENDED that defendants’ motions to suppress any evidence

obtained as a result of the GPS monitoring of vehicles, [Docs. 193, 201, 398], be




and Justice Alito specifically stated that “relatively short-term monitoring of a
person’s movements on public streets accords with expectations of privacy that our
society has recognized as reasonable,” id. at 964 (citing Knotts, 460 U.S. at 281–82).

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DENIED to the extent defendants assert that the subsequent monitoring of the GPS

tracking device violated their Fourth Amendment rights.

B.     Real-time Location Evidence from Cell Phones

       In addition to challenging GPS evidence obtained via the tracker installed on

the Impala, Dooley32 asserts that the government illegally obtained real-time location

information by “pinging”33 his cellular telephones.34 See [Doc. 398 at 9-16]. In



       32
       Although Dooley filed an additional motion post-Jones challenging not only
GPS information from the tracker but also real-time location evidence from cell
phones, see [Doc. 398], Henderson has not raised any such challenge.
       33
        When a telephone is “pinged,” its position is identified through GPS data.
[Doc. 341-3 at 8].
       34
         Dooley identifies instances of pinging occurring on March 22, March 23,
March 24, March 28, and March 30 of 2011. [Doc. 460 at 3]. Specifically, he
challenges the pinging of 678-280-4793 (“Target Telephone # 3”) on March 22, [Doc.
567-1 at 2], the pinging of Target Telephone #3 and 980-333-7216 (“Target Telephone
#4”) on March 24, 2011, [id. at 10], the pinging of 678-895-3369 (“Target Telephone
#2”), Target Telephone #3, and Target Telephone #4 on March 28, 2011, [id. at 4], as
well as nonspecific “phone pings” on March 28, 2011, and March 30, 2011, [id at 6,
12]. Dooley also asserts that Target Telephones ##3-4 were pinged on March 23,
2011, but the evidence provided in support of this assertion consists only of a report
stating that an agent “asked Inv. Crosby to set up a ping on [Target Telephone #4]”
and acknowledging that “Agent Szabo had an active ping running on [Target
Telephone #3].” [Id. at 8]. Dooley has not pointed to any log notes from the
investigation showing that either telephone was actually pinged on this date or
described any evidence arising from such a ping that the government intends to use
at trial against defendants. Accordingly, this allegation will not be addressed
further herein, as Dooley has not made a “definite, specific, detailed, and
nonconjectural [assertion] to enable the court to conclude that a substantial claim is
presented” with respect to any pinging on this date. See United States v. Cooper,
203 F.3d 1279, 1284 (11th Cir. 2000) (citation and internal marks omitted).

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particular, Dooley contends that the state wiretap orders issued during the

investigation did not permit the government to obtain real-time location information

by accessing the GPS or cell tower location capabilities of his cellular telephones.35

[Id. at 9-12]. In response, the government concedes that GPS data and real-time cell

tower data fall outside the scope of Title III, see [Doc. 434 at 2-3], but it challenges

Dooley’s standing to contest the gathering of real-time location information through

the wiretap orders, see [id. at 2], and asserts instead that in addition to providing a

basis for interception of communications pursuant to Title III, the applications for

the wiretap orders established probable cause for law enforcement to obtain the real-



      35
         Dooley also asserts that the government cannot legally obtain GPS or real-
time location information via the Pen Register Statute used to obtain cell site location
information. See [Doc. 398 at 12-16]. However, as discussed at length in a previous
Report and Recommendation, see [Doc. 486], the applications and orders issued
pursuant to this statute neither requested nor authorized the government to recover
GPS or real-time location information from the cellular telephones. See [Doc. 433-1
at 5 (application specifically stating that “[t]he Government is not requesting the
Court to direct that the cellular phone provider activate the Target Telephones GPS
functionality, or to direct the disclosure of information from multiple cellular
antenna towers simultaneously to triangulate at the precise location of a cellular
telephone”); Doc. 433-2 at 6 (same); Doc. 433-3 at 7 (same)]; see also [Doc. 433-1 at
16 (order pursuant to Pen Register Statute specifically stating that the government
was “not authorized to obtain and shall not obtain from the provider pursuant to
this Order: . . . (3) GPS information on the location of the user, even if that
technology is built into the cellphone”); Doc. 433-2 at 17 (same); Doc. 433-3 at 18
(same)]. Accordingly, the government acknowledges that the Trap and Trace
Orders did not authorize it to obtain GPS or real-time location information, see [Doc.
433], and Dooley’s objections in this regard are thus moot and will not be addressed
further herein. Instead, the Court will consider only whether the government could
legally obtain real-time location information pursuant to the wiretap orders.

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time location information,36 conforming with the requirements of the Fourth

Amendment, see [id. at 3-7 (citing United States v. Ortega-Estrada, Criminal File No.

1:07-CR-356-TWT, 2008 WL 4716949, at *14 (N.D. Ga. Oct. 22, 2008), adopted at *1

(“[T]here is no requirement . . . that a search warrant for [real-time] GPS information

be independent from a wiretap order, and therefore, its inclusion with the subject

wiretap orders does not render either defective.”)]. Accordingly, since GPS data and

real-time cell tower data fall outside the scope of Title III, the statutory suppression

remedy from Title III does not apply, United States v. Forest, 355 F.3d 942, 950 (6th

Cir. 2004), vacated on other grounds by Garner v. United States, 543 U.S. 1100 (2005);

Ortega-Estrada, 2008 WL 4716949, at *14, and the GPS information and real-time cell

tower data obtained pursuant to the wiretap orders “would be admissible unless

such evidence was obtained contrary to the Fourth Amendment,” Ortega-Estrada,

2008 WL 4716949, at *14; see also United States v. Flores, No. 1:05-cr-558-WSD-JFK,

2007 WL 2904109, at *4 (N.D. Ga. Sept. 27, 2007) (footnote omitted) (“Suppression

is not an appropriate remedy for illegal interception of [evidence outside the scope

of Title III] unless the violation rises to a constitutional level.”).

       36
        Each wiretap order states: “[I]f requested by a law enforcement agency
executing this investigation warrant, the TARGET TELEPHONE SERVICE
PROVIDER shall provide cell phone positioning information through the use of GPS
data and or through all cell data such as cell tower data which provides positioning
information. This information is to be provided to the [GCPD] in real time, if
possible and if requested.” [Doc. 341-2 at 23-24; Doc. 341-3 at 18; Doc. 341-4 at 19-
20].

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      1.     Standing

      As previously discussed, “[t]he Fourth Amendment protects an individual in

those places where he can demonstrate a reasonable expectation of privacy against

government intrusion.”37 United States v. Suarez-Blanca, Criminal Indictment No.

1:07-CR-0023-MHS/AJB, 2008 WL 4200156, at *5 (N.D. Ga. Apr. 21, 2008) (citing

Katz, 389 U.S. at 353); see also Ortega-Estrada, 2008 WL 4716949, at *14 (“The Fourth

Amendment prohibits ‘unreasonable searches and seizures,’ and requires warrants

to issue only upon a showing of probable cause and a particular description of the

thing to be seized.”). “Fourth Amendment rights, however, are personal, and only

individuals who actually enjoy the reasonable expectation of privacy have standing

to challenge the validity of a government search.” Suarez-Blanca, 2008 WL 4200156,



      37
         Generally, to challenge the interception of a communication under Title III,
a defendant must show that he is an “aggrieved person,” which courts have
interpreted in accordance with existing standing rules to include those individuals
who are the “victim[s] of . . . invasion[s] of privacy.” Jones v. United States, 362 U.S.
257, 261 (1960), overruled on other grounds by United States v. Salvucci, 448 U.S. 83
(1980); see also Ortega-Estrada, 2008 WL 4716949, at *2 (quoting 18 U.S.C. §
2518(10)(a)); Flores, 2007 WL 2904109, at *2 (citation and internal marks omitted)
(“To [challenge a wiretap] a defendant must show: (1) he was a party to the
communication, (2) the wiretap efforts were directed at him, or (3) the interception
took place on his premises.”). However, since the GPS and real-time cell tower data
was not authorized on a statutory basis under Title III, but the government contends
that the applications for the wiretap orders established probable cause to obtain the
real-time location information, see [Doc. 434 at 3-7], the Court will not address
whether Dooley is an aggrieved person under the statute, and will instead only
consider whether he has shown a reasonable expectation of privacy under the
Fourth Amendment to challenge the obtaining of the real-time location data.

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at *5 (citations omitted); see also Rakas v. Illinois, 439 U.S. 128, 133-34 (1978). “To

have standing to challenge a search, one must manifest a subjective expectation of

privacy in the invaded area that society is prepared to recognize as reasonable.”

Suarez-Blanca, 2008 WL 4200156, at *5 (citations and internal marks omitted); see

also Ciraolo, 476 U.S. at 211 (standing to challenge search requires a subjective

expectation of privacy that society would recognize as legitimate); United States v.

Baron-Mantilla, 743 F.2d 868, 870 (11th Cir. 1984) (per curiam). Additionally,

“‘[l]egitimation of expectations of privacy by law must have a source outside of the

Fourth Amendment, either by reference to concepts of real or personal property law

or to understandings that are recognized and permitted by society.’” Suarez-Blanca,

2008 WL 4200156, at *5 (alteration in original) (quoting Rakas, 439 U.S. at 143 n.12).

“Thus, an individual asserting Fourth Amendment rights ‘must demonstrate that

he personally has an expectation of privacy in the place searched, and that his

expectation is reasonable[.]’” Id. at *6 (alteration in original) (quoting Carter, 525

U.S. at 88). “That is, a defendant must establish both a subjective and an objective

expectation of privacy,” and he “bears the burden of showing a legitimate

expectation of privacy in the area searched.” Id. (citations omitted).

      Dooley asserts that he has standing to challenge the pinging of various cell

phones because he was the owner of three phones that were subject to the wiretaps,




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specifically, Target Telephones ## 2-4.38 [Doc. 460 at 6]. The government, however,

contends that because Dooley was using a false name with respect to those

telephones, he cannot demonstrate the reasonable expectation of privacy required

for standing to challenge evidence seized pursuant to the second and third wiretap

orders. See [Doc. 555 at 6-15 (citing Suarez-Blanca, 2008 WL 4200156, at *5) (footnote

and citations omitted) (“Courts have determined that an individual does not have

a legitimate expectation of privacy in items that are not in the individual’s name or

when an individual uses an alias or fictitious name and there is no other evidence

linking the defendant to the item or property.”)].

      Dooley, however, relies on the Supreme Court’s holding in Jones, 132 S.Ct. at

945, for the proposition that he can assert standing in an object not registered in his

      38
         Dooley asserts that he has standing with respect to 404-667-4900 (“Target
Telephone #1”), the subject of the First Wiretap Order, because his “voice was
intercepted on numerous calls with codefendant . . . Booker when Booker used
[Target Telephone #1].” [Doc. 460 at 6]. While such a showing may be sufficient to
show Dooley was an aggrieved person with a reasonable expectation of privacy in
the communications intercepted by the First Wiretap Order, see Jones, 362 U.S. at 261;
Ortega-Estrada, 2008 WL 4716949, at *2; Flores, 2007 WL 2904109, at *2, the relevant
question with respect to the pinging of the cell phone is whether Dooley has shown
that activating the GPS capabilities of the phone or accessing cell tower data in real
time to reveal the location of its user has violated his reasonable expectation of
privacy. See Forest, 355 F.3d at 950-52; Ortega-Estrada 2008 WL 4716949, at *12-13.
Because Dooley asserts that Booker, not Dooley, was using Target Telephone # 1, he
has not shown that the pinging of that phone in any way violated any reasonable
expectation of privacy he may have had with respect to his location, and has not
established standing to challenge the government’s acquisition of real-time location
information with respect to that phone. See United States v. Degaule, 797 F. Supp.
2d 1332, 1361-63 (N.D. Ga. 2011), adopted at 1344.

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name. See [Doc. 544 at 8-9]. Dooley contends that in Jones the Supreme Court

“clearly noted that an individual not registered with an item can still have standing

to challenge an alleged Fourth Amendment violation where that individual is the

‘exclusive’ user and, as a result, assumes the property rights of a bailee.” [Id. at 9

(citing Jones, 132 S.Ct. at 949 n.2)]. However, the Court stopped short of this

holding, and instead merely recognized the status of Jones as a bailee, noting that

because the government did not challenge standing in the appeal, they did “not

consider the Fourth Amendment significance of Jones’s status.” Jones, 132 S.Ct. at

949 n.2. Accordingly, while the Court noted that Jones would have the property

rights of a bailee, they made no determination as to whether such a status would

satisfy Fourth Amendment standing.39 See id.

      Alternatively, Dooley contends that he has a reasonable expectation of privacy

sufficient to challenge the wiretaps of Target Telephones ## 2-4 because, although

he used a fake name on the telephone accounts, other evidence links him to the

      39
          Dooley also cites Jones for the proposition that he has standing under a
possessory trespass theory because he was using the device “at the time the
government trespassorily insert[ed] the information gathering device.” [Doc. 544
at 9 (internal marks omitted) (quoting Jones, 132 S.Ct. at 952)]. However, pinging
a cell phone through its GPS capabilities or calibrating cell tower data in real time
is clearly distinguishable from the placement of an electronic tracking device on a
person or his property to follow his movements, and since “pinging” does not
involve the physical placement of a tracker or beeper onto Dooley’s cell phone, the
undersigned finds that the “beeper” line of Fourth Amendment cases focusing on
physical trespass are not relevant to the standing analysis here. See Jones, 132 S.Ct.
at 951-52.

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telephones at issue. See [Doc. 544 at 7-13 (citing Suarez-Blanca, 2008 WL 4200156,

at *5 (footnote and citations omitted) (“Courts have determined that an individual

does not have a legitimate expectation of privacy in items that are not in the

individual’s name or when an individual uses an alias or fictitious name and there

is no other evidence linking the defendant to the item or property.”)].40 Indeed, the Suarez-

Blanca court specifically noted that “an individual may assert a reasonable

expectation of privacy in packages addressed to them under fictitious names,” 2008

WL 4200156, at *6 n.6 (citing United States v. Pitts, 322 F.3d 449, 457-59 (7th Cir.

2003); United States v. Villarreal, 963 F.2d 770, 774-75 (5th Cir. 1992); United States

v. Boyd, No. CRIM. A. 05-10037-GA03, 2006 WL 314344, at *4 (D. Mass. Feb. 8,

2006)); see also United States v. Pierce, 959 F.2d 1297, 1303 n.11 (5th Cir. 1992)

(drawing a distinction between packages addressed to the “alter ego” of a defendant

and those addressed to individuals other than the defendant), that “an individual



       40
         The other cases cited by Dooley where a person who was not the registered
owner of a telephone was found to have standing to challenge a search are examples
of situations where “other evidence” existed linking the individual to the phone in
someone else’s name. See, e.g., United States v. Garcia-Bercovich, 582 F.3d 1234,
1236 (11th Cir. 2009) (finding a reasonable expectation of privacy where other
evidence showed that defendant’s full name matched the name on the intercepted
package, and he had retrieved at least two other similarly addressed packages);
United States v. Finley, 477 F.3d 250, 259 (5th Cir. 2007) (finding a reasonable
expectation of privacy where other evidence showed the phone was registered in
defendant’s employer’s name, and that the phone was issued to defendant, he was
permitted to use the phone for personal purposes, and the defendant took “normal
precautions to maintain his privacy in the telephone.”).

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has an expectation of privacy in a hotel room for which he uses an alias to register

where he has exclusive control over the room and the keys,” Suarez-Blanca, 2008

WL 4200156, at *6 n.6 (citing United States v. Newbern, 731 F.2d 744, 748 (11th Cir.

1984)), and that “an individual has an expectation of privacy in property that was

purchased under an alias but where the evidence showed the defendant lived at the

home and exercised control over it,” Suarez-Blanca, 2008 WL 4200156, at *6 n.6

(citing United States v. Watson, 950 F.2d 505, 507 (8th Cir. 1991)), and specifically

distinguished those situations from the one at hand, where a defendant sought to

suppress cell phone records from a phone registered under a different subscriber

name and “there [was] no evidence linking [that] subscriber to [the defendant],” id.

at *6-7 (noting that the defendant “failed to tie himself in any way to the

subscriber”). Accordingly, if Dooley can show other evidence linking him to the

subscriber of the telephones at issue, “Donyale Dooley,” he can establish Fourth

Amendment standing despite the fact that the phone was not registered to his name.

      As “other evidence” linking him to the target telephones, Dooley points to the

fact that “the agents believed Mr. Dooley was either a speaker on or was using all

five targeted phones,” the fact that law enforcement “knew [Dooley] had access to

[the phones] up to the point of his arrest,” the fact that Donyale Dooley, who is in

fact Dooley’s brother, identified Dooley’s voice on all five phones, the fact that

Donyale Dooley testified that Dooley habitually established cell phone accounts and

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applied for other services under Donyale’s name because Dooley had poor credit,

and the fact that Donyale Dooley also identified “domestic calls” made from those

phones between Dooley and his girlfriend and Dooley and his mother. See [Doc. 544

at 9-10, 12]. However, as the government points out, see [Doc. 555 at 8], Dooley may

not “rely[] solely on the government’s theory of the case [to show] that [he] has

standing to contest [a] search.” United States v. Singleton, 987 F.2d 1444, 1449 (9th

Cir. 1993); see also United States v. Thompson, 171 F. App’x 823, 838 (11th Cir. 2006)

(per curiam) (unpublished);United States v. Lewis, Criminal No. 07-00266-CG, 2007

WL 2996347, at *1 (S.D. Ala. Oct. 12, 2007). Accordingly, neither law enforcement’s

belief that Dooley was the one who owned the phones, nor their knowledge and

belief that he had the phones in his possession can serve as the “other evidence”

necessary to establish Dooley’s standing to assert a Fourth Amendment challenge

to the pinging of phone not registered under his name. See Singleton, 987 F.2d at

1449; Thompson, 171 F. App’x at 828; Suarez-Blanca, 2008 WL 4200156, at *5; Lewis,

2007 WL 2996347, at *1.

      However, Dooley also cites as “other evidence” Donyale Dooley’s affidavit,

where Donyale Dooley explains that he knew Dooley routinely used his name to

establish cell phone accounts, apply for housing, or sign up for other services that

would require a credit check because Donyale Dooley had better credit than Dooley

did. See [Doc. 544-1 at 1 (specifically testifying that Donyale Dooley knew Dooley

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had used his name to set up cell phone accounts in the past)]. Moreover, Donyale

Dooley identified Dooley’s voice in various calls made from the cell phones between

Dooley and his girlfriend and Dooley and his mother. See [Doc. 544 at 9-10, 12; Doc.

541-1 at 2]. The Court finds that this “other evidence” is sufficient to establish a

connection between Dooley and the subscriber name used to set up Target

Telephones ##2-4, establishing his reasonable expectation of privacy in those

phones. Therefore, in addition to the Fourth Wiretap Order,41 Dooley has standing

to challenge real-time location evidence seized pursuant to the Second and Third

Wiretap Orders. See Suarez-Blanca, 2008 WL 4200156, at *6 n.6 (citations omitted);

see also Garcia-Bercovich, 582 F.3d at 1236 (finding sufficient “other evidence” to

establish a reasonable expectation of privacy in a package mailed to an alias where

the defendant established previous use of the other name by showing he had

retrieved two other similarly addressed packages).42


      41
         The government concedes that Dooley has standing with respect to 951-313-
7823 (“Target Telephone #5”), the subject of the Fourth Wiretap Order, which was
registered in his name. See [Doc. 341 at 20; Doc. 341-4 at 2].
      42
         In support of his motion, Dooley also cites United States v. Moncur, No. 10-
20801-CR, 2011 WL 3844096, at *1 (S.D. Fla. July 28, 2011), asserting that the case
shows that a reasonable expectation of privacy can exist despite the use of an alias
where the alias was not used merely in furtherance of the criminal scheme.
See [Doc. 544 at 12-13]. The government contends that considering whether or not
the alias was used in furtherance of criminal ends “adds to the standing threshold
question, and in doing so, seemingly shifts the burden of proof to the Government
to disprove standing . . . by requiring the government . . . to show evidence that [the
defendant] used the alias to frustrate law enforcement.” [Doc. 555 at 12-13].

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      2.     Probable Cause to Seize Real-Time Location Data

      The government maintains that the state wiretap orders for Dooley’s cell

phones obtained during the investigation lawfully authorized the seizure of real-

time location data from his phones because the applications submitted to obtain the

orders established probable cause for the pinging. See [Doc. 434]. Rule 41 of the

Federal Rules of Criminal Procedure provides for issuance of a warrant to permit the

use of a tracking device if an application establishes probable cause to use such a

device. Fed. R. Crim. P. 41(d)(1). Probable cause exists if the totality of the

circumstances indicate that there is a fair probability that obtaining real-time


However, since standing is assessed on a case-by-case basis, see Oliver v. United
States, 466 U.S. 170, 191 n.3 (1984), and both a defendant’s subjective expectations
of privacy and society’s reasonable expectations of privacy are relevant to the
inquiry, see Carter, 525 U.S. at 88, defendant’s motivations in using an alias are
relevant to his Fourth Amendment standing, and considering them does not place
any inappropriate burden on the government. Indeed, in determining that use of
an alias defeats any reasonable expectation of privacy, courts have pointed to the
defendant’s underlying motivation as a justification for their decision. See, e.g.,
Suarez-Blanca, 2008 WL 4200156, at *7 (citing United States v. Wood, 6 F. Supp. 2d
1213, 1214 (D. Kan. 1998)) (noting that no reasonable expectation of privacy existed
because the use of another name indicated that the defendant was either “trying to
distance himself from the cell phone or had no interest in the cell phone”); United
States v. Walker, 20 F. Supp. 2d 971, 973-74 (S.D.W. Va. 1998) (holding that a
package recipient’s use of an alias in furtherance of a criminal scheme defeated the
reasonableness of his expectation of privacy). Here, the fact that Donyale’s affidavit
establishes that Dooley used the “Donyale Dooley” alias habitually to set up any
service requiring a credit check, including his living arrangements, and that the alias
was not strictly associated with the charged criminal activities, weighs in favor of
finding he had an expectation of privacy in the services or property held under the
alias. See Moncur, 2011 WL 3844096, at *1; Walker, 20 F. Supp. 2d at 973-74.

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location information will reveal a crime or evidence of a crime. Degaule, 797 F.

Supp. 2d at 1363 n.24 (citation omitted); see also United States v. Peterson, 627 F.

Supp. 2d 1359, 1363 (M.D. Ga. 2008) (citing Illinois v. Gates, 462 U.S. 213, 239 (1983)).

“An issuing judge’s probable cause determination should be paid great deference

by reviewing courts, and it will be upheld if there exists a substantial basis for

concluding that probable cause existed.” United States v. Sutton, Criminal Action

No. 5:08-CR-40(HL), 2009 WL 481411, at *5 (M.D. Ga. Feb. 25, 2009) (citations and

internal marks omitted).

      “While Rule 41 provides procedures by which warrants may be issued, it is

not the exclusive determinate as to whether a particular search violates the Fourth

Amendment.” Ortega-Estrada 2008 WL 4716949, at *14. In fact, this Court has held

that GPS information may be obtained pursuant to a wiretap order if the application

establishes probable cause for obtaining the GPS data. Id.; Degaule, 797 F. Supp. 2d

at 1363 n.24. Thus, the Court will consider whether the applications for the wiretap

orders for Dooley’s phones established probable cause to authorize pinging of the

phones under the Fourth Amendment.




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             a.    Evaluation of Probable Cause for the Wiretap Orders

                   i.     Target Telephone #2

      Beginning with the affidavit in support of the First Wiretap Order,43 Detective

Andrew Whaley (“Detective Whaley”) of the GCPD explains in great detail how law

enforcement had linked Dooley to several armed robberies, believed to have been

carried out by the same group of individuals due to the similar nature of the crimes.

[Doc. 341-1 at 25-28, 33]. Detective Whaley describes law enforcement’s discovery

of Bennett’s fingerprints on a getaway vehicle, and following his disappearance and

murder, the subsequent investigation of his death. [Id. at 33-39, 44-45]. During this

investigation, law enforcement interviewed Bennett’s family and friends, learned

that Bennett had admitted involvement in at least one of the robberies, and were

able to identify Booker and an individual known as “Chicken,” as other individuals

involved in the crimes. [Id. at 35-39]. Through Bennett’s subpoenaed phone records

and information provided during the interviews, investigators obtained phone

numbers associated with both “Chicken” and Booker, and after subpoenaing the

subscriber information for those numbers were able to determine that “Chicken”




      43
        The application for the Second Wiretap Order incorporates and attaches the
affidavit submitted with the application for the First Wiretap Order. See [Doc. 341-2
at 3].

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was most likely Dooley,44 who lived at 5015 Michael Jay Street. [Id. at 33, 37, 39;

Doc. 341-2 at 10-12, 14 (linking “Chicken” to North Carolina and describing Donyale

Dooley’s North Carolina criminal history)]. Obtaining phone records and cell site

location information for these numbers revealed that the phones had been used in

the vicinity of the robberies at the time that the robberies occurred and that they

were often in contact with each other.45 [Doc. 341-1 at 33-35, 44-45; Doc. 341-2 at 12-

14].

         Detective Whaley describes how, after making these connections, law

enforcement surveilled Booker’s vehicles, observing his movements as he appeared

to be “casing” a Loomis armored truck in Stone Mountain, and discovered that a

black Buick with a front hood that was noticeably ajar appeared to be casing the

truck in conjunction with Booker. [Doc. 341-1 at 40-42]; see also [id. at 26-32

(describing investigation leading to identification of vehicles through surveillance



         44
        The affidavit refers to Dooley as Donyale Dooley, the alias he used. See
generally [Doc. 341-1].
         45
         Specifically, the wiretap affidavit notes (1) 2.77 hours of contact over 104
calls between one of Dooley’s phones and one of Booker’s phones; (2) 1.04 hours of
contact and over 15 calls between one of Dooley’s phones and one of Booker’s
phones; (3) 18.15 hours of contact over 319 calls between one of Booker’s phones and
one of Dooley’s phone, including 3 calls on November 11, 2010, the same date of the
Bank of America Robbery; 1 call on November 29, 2010, the same date of the Wells
Fargo Robbery; and 13 calls on December 7, 2010, the same date of the Mall of
Georgia robbery. [Doc. 341-2 at 6].

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video and public records)]. The affidavit states that the Buick with the hood ajar

observed casing the ATM of a Wells Fargo on March 7, 2011, was later observed by

law enforcement parked in the driveway at 5015 Michael Jay Street, the address

associated with Dooley and his telephones. [Doc. 341-2 at 13-14].

      In addition to the information provided in the original affidavit, Detective

Whaley’s affidavit in support of the application for the Second Wiretap Order

describes a conversation between Booker and Dooley, who was using Target

Telephone #2, on March 20, 2011, five days after the armed robbery at the Toco Hills

Shopping Center, during which the courier was shot and killed. [Id. at 10-11].

Detective Whaley then provides his interpretation of the coded conversation,

relating it to events at earlier robberies and the planning of future robberies.46 [Id.

      46
        Specifically, Detective Whaley stated that Dooley told Booker “that shit was
ugly and unreal” and Booker acknowledged him. [Doc. 341-2 at 10]. Dooley then
stated that “they were just giving that pussy away” and talked about how they
“didn’t do their ‘homework,’” but that he had already “put the homework in.” [Id.].
Booker asked him when he “wants to do that” and Dooley replied “whenever you’re
ready.” [Id.]. Dooley also made a reference to the fact that “the mother fucker only
go down there only to get a small change that was it.” [Id. at 11]. Detective Whaley
interpreted this conversation as a reference to the murder in the DeKalb County
armored truck robbery which had taken place on March 15, 2011. [Id. at 10-11]. He
believed that Dooley was telling Booker that it was easy to rob guards, but that the
last robbery had not been preceded by sufficient surveillance and intelligence,
referencing the fact that the amount of money taken in the robbery was significantly
smaller than the previous ones, a detail that had not been released to the public. [Id.
at 11]. Detective Whaley interpreted the rest of the conversation to indicate that
Dooley had already done some surveillance on a new target, and so he was ready
for another armed robbery whenever Booker was. [Id]

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at 11-12]; see also Flores, 2007 WL 2904109, at *39 (explaining that the issuing judge

“may consider an agent’s training and experience to offer opinions as to methods

utilized by [suspects] and, based on the same, consider an agent’s interpretation of

code words and language in determining whether [] probable cause exists to

authorize a search warrant”). Detective Whaley concluded that the investigation

indicated that Dooley was using Target Telephone #2 “to plan, coordinate and

conduct armed robberies in Gwinnett County and surrounding metropolitan-

Atlanta counties.” [Id. at 15].

      The Court finds that the affidavit submitted in support of the Second Wiretap

Order provided a substantial basis for concluding that probable cause existed to

believe that obtaining real-time location information with respect to Target

Telephone #2 would reveal a crime or evidence of a crime as the conversation

intercepted on March 20, 2011, five days after the armed robbery at the Toco Hills

Shopping Center, indicated that Dooley was using Target Telephone #2 to discuss

the prior robbery with Booker and to plan another robbery, and phone records

indicated that the two had been in communication on cell phones around the time

of other robberies. [Doc. 341-2 at 10-14]. Accordingly, the Second Wiretap Order,

issued on March 21, 2011, did not violate the Fourth Amendment when it authorized

law enforcement to ping Target Telephone #2, and it is RECOMMENDED that



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Dooley’s motion to suppress evidence, [Doc. 398], be DENIED to the extent he

objects to law enforcement’s pinging of Target Telephone #2 after the order was

issued on March 21, 2011. See [Doc. 567-1].

                   ii.    Target Telephones ##3-4

      The affidavit in support of the application for the Third Wiretap Order

likewise establishes the requisite probable cause with respect to Target Telephones

##3-4. After incorporating by reference the evidence described in the earlier

applications, see [Doc. 341-3 at 6], Detective Whaley describes the most recent

developments in the investigation, noting that Dooley had left Target Telephone #2

with Jones and that Dooley had called Target Telephone #2 multiple times from

Target Telephone #3, which was activated on March 8, 2011.47 [Id. at 7]. Similarly,

conversations between Booker on Target Telephone #1 and a female on Target

Telephone #2 indicated that Dooley would call Booker from “the Lo-Key shop,” a



      47
         The affidavit in support of the third wiretap application also mentions that
Target Telephone #3 was “pinged” on March 22, 2011, while law enforcement had
the red Impala under surveillance as it traveled from the 5015 Michael Jay Street
residence to a Bank of America in Lithonia, Georgia. See [Doc. 341-3 at 8; Doc. 567-1
at 2]. However, because this instance of pinging of Target Telephone #3 occurred
before the Third Wiretap Order was issued authorizing pinging of Target Telephone
#3, the Court will evaluate the existence of probable cause in the third wiretap
application without considering this instance of pinging of Target Telephone #3. See
United States v. Sereme, No. 2:11-CR-97-FtM-29SPC, 2012 WL 1757702, at *15-16
(M.D. Fla. Mar. 27, 2012), adopted by 2012 WL 1757271, at *1 (M.D. Fla. May 16,
2012).

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term Detective Whaley understood to be slang for a phone not yet intercepted or

compromised by law enforcement, and Dooley then called Booker using Target

Telephone #4. [Id. at 8-9]. During this conversation, Dooley and Booker continued

to speak in code or slang, and Dooley indicated that they needed to get together and

the two discussed whether the police had been watching them. [Id.]. Dooley also

made a reference to “chopper spitting” which Detective Whaley said “is a

commonly used street slang reference for shooting a gun.” [Id. at 9]. Detective

Whaley concluded that the investigation indicated that Dooley was currently using

three cell phones, Target Telephones ## 2-4, “to plan, coordinate and conduct armed

robberies in Gwinnett County and surrounding metropolitan-Atlanta counties.”

[Id.].

         The Court finds that the affidavit submitted in support of the Third Wiretap

Order provided a substantial basis for concluding that probable cause existed to

believe that obtaining real-time location information with respect to Target

Telephones ##3-4 would reveal a crime or evidence of a crime as the investigation

indicated that Dooley continued to communicate with Booker and wanted to get

together with him, but they were concerned about law enforcement surveillance,

and Dooley had obtained these new cell phones to continue to communicate with

Booker and Jones while avoiding detection by law enforcement. [Doc. 341-3 at 7-9].



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Accordingly, the Third Wiretap Order, issued on March 24, 2011, did not violate the

Fourth Amendment when it authorized law enforcement to ping Target Telephones

##3-4, and it is RECOMMENDED that Dooley’s motion to suppress evidence, [Doc.

398], be DENIED to the extent he objects to law enforcement’s pinging of Target

Telephones ## 3-4 after the order was issued on March 24, 2011.48 See [Doc. 567-1

at 4, 6, 10, 12].

                          iii.   Target Telephone #5

       The affidavit in support of the fourth wiretap application also establishes the

requisite probable cause with respect to Target Telephone # 5. After incorporating

by reference the evidence described in the earlier applications, see [Doc. 341-4 at 6],

Detective Whaley describes the most recent developments in the investigation,

noting that on March 27, 2011, Dooley had received a call on Target Telephone #2

from his home phone number in which a female, believed to be Jones, discussed

purchasing a new Tracphone from the store, [id. at 8]. Several hours later, Dooley

called Target Telephone #1 from a new Tracfone, Target Telephone #5, and told



       48
          Two of the pings Dooley challenges are of Target Telephones ##3 and 4 on
March 24, 2011. [Doc. 567-1 at 10]. However, it is clear from the log of the
investigation that these pings occurred after Detective Whaley had obtained the
Third Wiretap Order, which was signed at noon on March 24, 2011, [Doc. 341-3 at
20], as the pings occurred after “1627 hrs,” when calls to Target Telephone #3 began
to be recorded. See [Doc. 567-1 at 10 (noting that Target Telephones ##3 and 4 were
pinged after “1814 hrs”)].

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Booker that the new number was his new “joint,” a slang term for a new cell phone.

[Id.]. Dooley said that he had four “joints,” which Detective Whaley understood to

be a reference to the four cell phones, Target Telephones ##2-5, that Dooley was

currently using. [Id.].

        The affidavit describes the content of two conversations between Booker and

Dooley using these phones, which Detective Whaley believed indicated that Dooley

was considering meeting with Booker, and the two were discussing the disposition

of money from robberies or other illegal activity, and Booker expressed displeasure

with Dooley’s actions in light of earlier agreements. [Id. at 8-9]. During this

conversation, Dooley told Booker that he was “Charlotte bound” and needed “4 lab

packs” to make the trip, which Detective Whaley understood to mean that Dooley

needed or planned to obtain money for a trip to North Carolina, as the investigation

had revealed that Dooley had ties to Mecklenburg County, North Carolina. [Id. at

9].

        The affidavit also describes how surveillance and GPS tracking had revealed

that at approximately 7:30 p.m. on March 27, 2011, Dooley drove the Impala around

the vicinity of a Wells Fargo bank in DeKalb County, which was serviced by the

same armored truck company that had previously been robbed and which was on

the same route as other bank locations previously cased by Booker, [id. at 9-10], and



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the driving pattern suggested that Dooley was checking for routes of escape, dead-

end streets, and a place to possibly abandon a vehicle, [id.]. Detective Whaley

concluded that the investigation indicated that Dooley was using Target Telephone

#5 “to plan, coordinate and conduct armed robberies in Gwinnett County and

surrounding metropolitan-Atlanta counties.” [Id. at 10].

      The Court finds that the affidavit submitted in support of the Fourth Wiretap

Order provided a substantial basis for concluding that probable cause existed to

believe that obtaining real-time location information with respect to Target

Telephone #5 would reveal a crime or evidence of a crime as the investigation

indicated that Dooley continued to communicate with Booker using Target

Telephone #5, which was one of four cell phones Dooley had at that time, the two

were discussing disposition of the proceeds of their criminal conduct, Dooley

indicated he needed money to travel to North Carolina, and Dooley was engaged

in conduct consistent with casing a bank for another robbery. [Doc. 341-4 at 8-10].

Accordingly, the Fourth Wiretap Order, issued on March 28, 2011, did not violate

the Fourth Amendment when it authorized law enforcement to ping Target

Telephone # 5, and it is RECOMMENDED that Dooley’s motion to suppress

evidence, [Doc. 398], be DENIED to the extent he objects to law enforcement’s




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pinging of Target Telephone #5 after the order was issued on March 28, 2011.

See [Doc. 567-1 at 6].

             b.     Good faith exception

      The government argues that even if the wiretap orders that authorized

pinging of Dooley’s cell phones were found not to have been supported by probable

cause, the law enforcement agents reasonably relied in good faith on the orders in

pinging the phones and suppression of the GPS evidence is not warranted. [Doc.

434 at 6]. As previously discussed, “the good faith exception to the exclusionary rule

‘stands for the principle that courts generally should not render inadmissible

evidence obtained by police officers acting in reasonable reliance upon a search

warrant that is ultimately found to be unsupported by probable cause.’”

Vanbrackle, 397 F. App’x at 559 (quoting Martin, 297 F.3d at 1313). The Eleventh

Circuit has recognized that the good faith exception to the exclusionary rule applies

to wiretap applications and orders. United States v. Malekzadeh, 855 F.2d 1492,

1497 (11th Cir. 1988); United States v. Acosta, 807 F. Supp. 2d 1154, 1248-49 (N.D. Ga.

2011), adopted at 1168; Flores, 2007 WL 2904109, at *7; United States v. Russell, Cr.

No. 2:08CR121-WHA, 2008 WL 4649051, at *5 (M.D. Ala. Oct. 20, 2008); United States

v. Royster, No. 5:07-CR-16 (WDO), 2007 WL 4336321, at *10 (M.D. Ga. Dec. 7, 2007).49

      49
       Although the Sixth Circuit has held that there is no good faith exception for
a warrant obtained pursuant to Title III, see United States v. Rice, 478 F.3d 704 (6th

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      Recognizing that the good faith exception to the exclusionary rule would

permit introduction of almost all evidence seized pursuant to judicial authorization,

the Supreme Court also identified four specific situations in which the good faith

exception would not apply: (1) where the warrant [or court order] is so facially

deficient that the executing officers cannot reasonably presume it to be valid; (2)

where the issuing judge was misled by information in the affidavit that the affiant

knew was false or would have known was false except for his reckless disregard of

the truth; (3) where the issuing judge wholly abandoned his judicial role; and (4)

where the supporting affidavit is so lacking in indicia of probable cause [or specific

and articulable facts relevant and material to an ongoing criminal investigation] as

to render official belief in its existence entirely unreasonable. Leon, 468 U.S. at 923;

see also United States v. Accardo, 749 F.2d 1477 (11th Cir. 1985).

      Dooley asserts that the good faith exception is not available because “the

wiretap applications simply say nothing whatsoever about why agents needed

Phone Location Data,” and “[n]either the factual predicate for seeking such

information nor any judicial determination that such information was needed can

be found when scouring the wiretap applications or subsequent orders.” [Doc. 460

at 5]. However, each wiretap application, which incorporated by reference the


Cir. 2007), the Eleventh Circuit’s precedent in Malekzadeh is controlling, see Acosta,
807 F. Supp. 2dat 1248-49; Royster, 2007 WL 4336321, at *10 & n.5.

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original application and affidavit, as amended by subsequent applications,

specifically requested that the issuing court order the Target Telephone Service

Providers to provide to the GCPD real time cell phone positioning information

through use of GPS data. [Doc. 341-1 at 11]. In the supporting affidavit, Detective

Whaley explained the shortcomings of traditional physical surveillance to monitor

the activities of the subjects engaged in the armed robberies and even noted that the

use of GPS tracking devices on vehicles fails to pinpoint a subject’s location at all

times. [Id. at 47-48]. Detective Whaley concluded that “the only remaining

investigative method available to detect and prosecute all conspirators and locate

all contraband involved in the aforementioned armed robberies is the use of

electronic surveillance of the telephone being used by [Booker] and those persons

yet to be identified as persons involved in his criminal organization.” [Id. at 55].

Detective Whaley added that the activity to be electronically monitored was believed

to represent a continuing criminal conspiracy, and the affidavit presented “probable

cause that the telephones are used by the conspirators to commit the [armed

robberies] and that the precision locating data will yield evidence pertinent to the

investigation and will be instrumental in meeting the [goals of the investigation].”

[Id. at 57-58].




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      Thus, contrary to Dooley’s contention, the applications and affidavits

provided the factual predicate for requesting real time GPS data from the cell

phones, and each wiretap order entered granted the request to obtain real time cell

phone positioning information through use of GPS data. See [Doc. 341-2 at 23-24;

Doc. 341-3 at 18; Doc. 341-4 at 19-20]. Dooley has not advanced any other argument

as to why the good faith exception should not apply, and there is no evidence here

that the issuing judge was misled, that the issuing judge abandoned his role as a

neutral and detached judge, or that the wiretaps so lacked probable cause or were

so deficient as to bar the application of the good faith exception here. See Acosta,

807 F. Supp. 2d at 1249 (finding that the good faith exception would apply where

“[d]efendant set forth no grounds supporting a finding that Leon’s good faith

exception does not apply to this case”); Royster, 2007 WL 4336321, at *10 (footnote

omitted) (“Defendant [] pointed to no evidence that the law enforcement officers in

this case had knowledge, or may properly be charged with knowledge, that the

search was unconstitutional under the Fourth Amendment, and therefore the good

faith exception would apply even if the Court had not found the surveillance

otherwise valid.”). Accordingly, it was objectively reasonable for the agents to

conclude that probable cause for the warrants existed and for them to rely in good




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faith on the wiretaps orders issued by the judges to ping Dooley’s cell phones.

Degaule, 797 F. Supp. 2d at 1363 n.24.

             c.    Pinging Prior to Wiretap Order

      While the Court finds that the various wiretap orders were supported by

probable cause to lawfully authorize pinging of the Target Telephones after the

respective orders were issued, Dooley has identified one instance of pinging that

occurred before the wiretap order associated with the pinged phone had been

issued.50 As noted earlier, the affidavit in support of the third wiretap application

mentions that Target Telephone #3 was “pinged” on March 22, 2011, while law

enforcement had the red Impala under surveillance as it traveled from the 5015

Michael Jay Street residence to a Bank of America in Lithonia, Georgia. See [Doc.



      50
        Dooley also identifies two instances of pinging of unspecified phones that
occurred on March 28, 2011, and March 30, 2011. [Doc. 567-1 at 6, 12]. However, the
information submitted by Dooley fails to show that the pinging on those dates was
not authorized by one or more of the wiretap orders. The investigative report cited
with respect to the March 28, 2011, pinging indicates that Dooley was using Target
Telephone #3 around the time of the pinging, [id. at 12], and the wiretap order
authorizing pinging of that phone had been issued on March 24, 2011, see [Doc. 341-
3]. Indeed, wiretap orders authorizing the pinging of Target Telephones #2 and #4
had also been issued prior to that date, and the wiretap order for the only remaining
cell phone, Target Telephone #5, was issued at 2:50 p.m. on March 28, 2011. See
[Docs. 341-2 to 341-4]. However, Dooley has not shown that any pinging of Target
Telephone #5 occurred before the wiretap order was issued. As for the March 30,
2011, pinging of an unspecified phone, all the wiretap orders obtained during the
investigation had been issued prior to that date, so any pinging on March 30, 2011,
was authorized by one or more of the wiretap orders. See generally [id.].

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341-3 at 8; Doc. 567-1 at 2].51 This pinging obviously occurred before the Third

Wiretap Order was issued on March 24, 2011, authorizing pinging of Target

Telephone #3. Although the pinging of Target Telephone #3 on March 22, 2011, was

not authorized by a wiretap order, the GPS data obtained on this date while law

enforcement had Dooley under surveillance as he traveled in the red Impala from

the 5015 Michael Jay Street residence to a Bank of America in Lithonia, Georgia, is

not subject to suppression unless Dooley shows that the pinging of his cell phone

in this instance while he was under surveillance in public violated the Fourth

Amendment. See United States v. Skinner, 690 F.3d 772, 777 (6th Cir. 2012)

(obtaining GPS location information emitted from a cell phone without a warrant

was not a violation of the Fourth Amendment because there is no reasonable

expectation of privacy in the data given off by a voluntarily procured cell phone).

      As discussed already in connection with the defendants’ challenge to the use

of the GPS tracker affixed to the Impala, the Supreme Court has specifically held that

a person has no reasonable expectation of privacy in his movements on a public

highway, and thus the use of a tracking device to follow movements in public does



      51
        A GCPD investigative report dated April 8, 2011, describing events in the
investigation on March 23, 2011, states that “Agent Szabo had an active ping
running on the 678-280-4793 number (Target Telephone #3).” [Doc. 567-1 at 8].
However, the only instance of pinging preceding the wiretap order for Target
Telephone #3 that Dooley has identified occurred on March 22, 2011. [Id. at 2].

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not implicate the Fourth Amendment. See Knotts, 460 U.S. at 282 (“Nothing in the

Fourth Amendment prohibit[s] the police from augmenting the sensory faculties

bestowed upon them at birth with such enhancement as science and technology

afford[] them.”); see also Skinner, 690 F.3d at 777-81 (holding that defendant “did

not have a reasonable expectation of privacy in the data emanating from his cell

phone that showed its location”). According to the affidavit submitted in support

of the third wiretap application, Target Telephone #3 was pinged on March 22, 2011,

while law enforcement had the red Impala under surveillance as it traveled from the

5015 Michael Jay Street residence to a Bank of America in Lithonia, Georgia. See

[Doc. 341-3 at 8; Doc. 567-1 at 2]. Thus, the warrantless pinging of Dooley’s cell

phone on March 22, 2011, occurred while he was traveling in public under physical

surveillance of law enforcement.       Since Dooley does not have a reasonable

expectation of privacy in his movements on a public highway, the fact that law

enforcement augmented its visual surveillance of him on March 22, 2011, through

pinging of his cell phone while he was in public did not violate the Fourth

Amendment. See Knotts, 470 U.S. at 281-83; Skinner, 690 F.3d at 781 (“Because

authorities tracked a known number that was voluntarily used while traveling on

public thoroughfares, [defendant] did not have a reasonable expectation of privacy

in the GPS data and location of his cell phone.”); Michael, 645 F.2d at 258 (approving



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of warrantless tracking of vehicle where “[t]he beeper only aided the agents in the

performance of their lawful surveillance” and “[t]he van traveled public roads and

was exposed to public view”); see also Ortega-Estrada, 2008 WL 4716949, at *13

(finding, in part, that the GPS data collected “did not invade a place where he might

have an expectation of privacy or constitute a ‘search’ of any such place . . . [so] the

use of the device does not require a warrant”). Accordingly, it is RECOMMENDED

that Dooley’s motion to suppress evidence, [Doc. 398], be DENIED.

                                III. CONCLUSION

      Accordingly, the government’s motion for leave to file a surreply, [Doc. 559],

is GRANTED, and it is RECOMMENDED that Henderson’s motion to suppress

any evidence obtained as a result of the GPS monitoring of vehicles, [Doc. 193],

Dooley’s motion to suppress evidence and fruits obtained from warrantless GPS

tracking, [Doc. 201], and Dooley’s motion to suppress all evidence derived from

illegally installed GPS trackers and from all real time location data derived from his

telephones, [Doc. 398], be DENIED.

      IT IS SO ORDERED and RECOMMENDED, this 29th day of January, 2013.




                                        RUSSELL G. VINEYARD
                                        UNITED STATES MAGISTRATE JUDGE



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